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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK


MARK I. SOKOLOW, et al.,

                               Plaintiffs,
                                                       No. 04 Civ. 00397 (GBD) (RLE)
        vs.

THE PALESTINE LIBERATION
ORGANIZATION, et al.,

                               Defendants.


                         DECLARATION OF KENT A. YALOWITZ

       Kent A. Yalowitz hereby declares as follows:

       1.      I am a member of the bar of this Court and of the Arnold & Porter law firm. I serve

as counsel for Plaintiffs in the above-captioned case. I make this declaration to place documents

and information before the Court relevant to the issue of defendants’ consent to the exercise of

personal jurisdiction in this case under the Promoting Security and Justice for Victims of Terrorism

Act, Pub. L. No. 116-94, § 903 (PSJVTA). See Parts A and B, infra. I also make this declaration

to describe information that discovery would likely reveal should such discovery be necessary, see

Part C, infra, and to place certain documents before the Court, see Part D, infra.

    Consent Under Subparagraph (1)(A)

       2.      Below, I summarize public-source information concerning certain incidents in

which nationals of the United States were killed or injured by reason of acts of terrorism. Where

appropriate, I refer to summaries of convictions and other information contained in Israeli court

documents contained in the Declaration of Nick Kaufman filed herewith. I also refer where
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appropriate to summaries of information concerning suicide terrorists contained in the Declaration

of Arieh Spitzen filed herewith.

       3.      The table attached to the accompanying memorandum of law summarizes the dates

and locations of relevant terror attacks, the names of U.S. nationals killed or injured in those at-

tacks, and the names of individuals imprisoned for or killed while perpetrating those attacks. Be-

low I detail public-source information germane to each attack listed in the table.

     Date        Location of Attack               U.S. Victims’ Names
 06/05/1968      Los Angeles              Robert F. Kennedy

       4.      Robert F. Kennedy was murdered on June 5, 1968 at the Ambassador Hotel in Los

Angeles, California, at an event during his campaign for the nomination to be the Democratic

Party’s candidate for the office of President of the United States. See People v. Sirhan, 7 Cal. 3d

710, 716–719 (1972) (en banc). Sirhan Bishara Sirhan was convicted of the murder. The trial rec-

ord included statements by Sirhan, a Palestinian, that “I did it for my country.” Id. at 719, 721.

Sirhan testified about “his views regarding the Arab-Israel conflict and his hatred of the Zionists,”

id. at 721. On appeal, the California Supreme Court emphasized Sirhan’s apparent motivations:

               Dr. Pollack further testified that “‘I believe the assassination of Senator
               Robert Kennedy was triggered by political reasons with which [defendant]
               was highly emotionally charged; I believe that Sirhan focused on Senator
               Robert Kennedy as an individual who should die, not only because of the
               Kennedy promise to give Israel the jet bombers that would cause death to
               thousands of Arabs, in Sirhan’s opinion, but also because Sirhan wanted the
               world to see . . . how strongly our United States policy was in the pro-Israel-
               anti-Arab movement in . . . spite of our Government’s professed interest for
               the underdog, and world justice’” and “‘Sirhan . . . saw himself as a de-
               fender of the Arab cause and, as an individual who through [] this act would
               bring world attention to the Arab plight and also . . . materialize his fantasy
               of success.’”

Id. at 724–25. The California Supreme Court rejected Sirhan’s challenge to the fairness of his trial

but modified the judgment to provide a punishment of life imprisonment. Id. at 755. Sirhan remains



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incarcerated at this time. See Sirhan Bishara Sirhan, CDCR INMATE LOCATOR, https://inmatelo-

cator.cdcr.ca.gov/Details.aspx?ID=B21014 (last visited Oct. 23, 2020). A copy of the incarcera-

tion report is attached as Exhibit 1.

     Date            Location of Attack            U.S. Victims’ Names
 09/05/1972          Munich                David Berger

       5.       David Berger was “an American/Israeli citizen who was one of the 11 Israeli ath-

letes murdered at the 1972 Olympic Games in Munich, Germany,” according to a U.S. National

Park Service website describing the David Berger National Memorial. See https://www.nps.gov/

dabe/learn/historyculture/david-berger-sculpture.htm. The Memorial subpage describes the terror

attack and states:

       The Palestinian terrorists were led by Luttif Afif, his deputy Yusuf Nazzal, and
       other Black September members Adnan Al-Gashey and his cousin Jamal Al-
       Gashey, Afif Ahmed Hamid, Khalid Jawad, Ahmed Chic Thaa, and Mohammed
       Safady.

See https://www.nps.gov/dabe/tragedy-in-munich.htm. Copies of the Memorial’s subpages are at-

tached as Exhibit 2.

       6.       Defendants’ documents confirm that Mohammed Masalha and Yusuf Nazzal died

perpetrating the attack. See Declaration of A. Spitzen ¶ 45. Other information (such as Wikipedia)

indicates that the following terrorists also died perpetrating the attack:

            •   Luttif Afif

            •   Afif Ahmed Hamid

            •   Khalid Jawad

            •   Ahmed Chic Thaa

Confirmation from defendants publicly available documents is not readily available. Discovery

would reveal whether their families have received payment by reason of their deaths.


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     Date        Location of Attack               U.S. Victims’ Names
 03/02/1973      Khartoum                 Cleo Noel
                                          George C. Moore

       7.      U.S. Ambassador to Sudan Cleo A. Noel, Jr. and Deputy Chief of Mission George

C. Moore “were murdered by Black September Palestinian guerillas at the Saudi Arabian Embassy

in Khartoum on March 2, [1973].” Noel and Moore Honored with Department’s Highest Award,

Dep’t of State Newsletter at 44 (Aug./Sept. 1973). A copy Newsletter is attached as Exhibit 3. The

State Department concluded that this “operation was planned and carried out with the full

knowledge and personal approval of Yasir Arafat, Chairman of the Palestine Liberation Organiza-

tion (PLO).” Intelligence Memorandum, “The Seizure of the Saudi Arabian Embassy in Khar-

toum,” (June 1973), reprinted in U.S. Dep’t of State, Foreign Relations of the United States, 1969–

76, Volume E-6, Documents on Africa, 1973-1976, https://history.state.gov/historicaldocu-

ments/frus1969-76ve06/d217. A copy of the Memorandum is attached as Exhibit 4.

       8.      According to contemporaneous State Department reports, the eight Palestinian ter-

rorists were tried, convicted, and sentenced to life in prison; however, Sudan’s President “com-

muted to seven years the life sentences of the eight Palestine terrorists . . . and released them ‘to

the PLO’ for execution of the sentences.” Briefing Memorandum From the Assistant Secretary of

State for African Affairs to the Under Secretary of State, “U.S. Reaction to Sudanese Decision re

Eight Palestinian Terrorists” (July 1, 1974), reprinted in U.S. Dep’t of State, Foreign Relations of

the United States, 1969–76, Volume E-6, Documents on Africa, 1973-1976, https://his-

tory.state.gov/historicaldocuments/frus1969-76ve06/d217. A copy of the document is attached as

Exhibit 5.

       9.      My colleagues and I have searched for the names of the eight convicted terrorists,

but they are not readily available from public sources. As these individuals acted with the


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knowledge of the PLO’s most senior official and were released into the PLO’s custody, discovery

would reveal their identities and whether they or their designees have received payment by reason

of their imprisonment.

     Date        Location of Attack                   U.S. Victims’ Names
 03/11/1978      Tel Aviv                             Gail Rubin

       10.     Gail Rubin was murdered on March 11, 1978, in the “Coastal Road massacre,” in

which “a group of terrorists from the Fatah Movement, led by Dalal Said Mohammad al-Mughrabi

murdered Rubin, “an American tourist” and 37 others. See Incitement to Murder by the Palestinian

Authority, ISRAEL MINISTRY OF FOREIGN AFFAIRs (Mar. 27, 2016), https://mfa.gov.il/MFA/Press-

Room/2016/Pages/Incitement-to-murder-by-the-Palestinian-Authority-27-Mar-2016.aspx.                 A

copy of the story is attached as Exhibit 6.

       11.     Dalal Said Mohammad al-Mughrabi is listed as a “martyr” by defendants’ WAFA

information service. See Declaration of A. Spitzen ¶ 45.

     Date        Location                     U.S. Nationals Killed or Injured
  05/14/1979     Tiberias                  Haim Mark

       12.     According to public reports, Haim Mark and his wife, Haya, of New Haven, Con-

necticut were injured in a PLO bombing attack in Tiberias. See David Bedein, Profile of a US

Citizen Killed in Israel by Terrorists, JEWISH VOICE, https://thejewishvoice.com/2013/08/profile-

of-a-us-citizen-killed-in-israel-by-terrorists/ (last visited Oct. 22, 2020). A copy of the article is

attached as Exhibit 7.

       13.     Westlaw provides a service called PeopleMap that gathers public records related to

individuals, such as partial social security numbers, voter registrations and other vital statistics.

According to PeopleMap, Haim Mark had a social security number, was registered to vote, and

lived in Connecticut. A redacted copy of the PeopleMap report is attached as Exhibit 8.


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       14.       Ziad Abu Ein was convicted for perpetrating the attack. See Declaration of N. Kauf-

man ¶ 8.

     Date          Location                     U.S. Nationals Killed or Injured
  05/02/1980       Hebron                   Eli Haze’ev (aka James E. Mahon, Jr.)

       15.       Eli Haze’ev, an American born in New York, was “one of six Jewish victims of the

worst Arab attack on Jews since Israel occupied the West Bank of the Jordan River in 1967.”

William Claiborne, Virginia Man’s Violent World Ends in West Bank, WASH. POST. (May 7, 1980).

A copy of the article is attached as Exhibit 9. The U.S. National Archives contains his social se-

curity application, listing New York as his place of birth. A copy of the U.S. National Archives

page is attached as Exhibit 10.

       16.       The following individuals were convicted for their roles in perpetrating the attack:

             •   Yasser Hasin Mohammed al-Zaydat

             •   Adnan Jabbar Mahmoud Jabbar

             •   Tayseer Mahmoud Taha Tayseer

             •   Mohammed Abdel Rahman Salah Shubaki

See Declaration of N. Kaufman ¶ 8.

     Date          Location                    U.S. Nationals Killed or Injured
  10/08/1985       Achille Lauro Ship       Leon Klinghoffer

       17.       On October 7, 1985, four Palestinian hijackers seized the Italian cruise liner Achille

Lauro in the Eastern Mediterranean Sea. During the course of the hijacking, they separated Leon

Klinghoffer, a U.S. citizen confined to a wheelchair, from the other passengers. See Klinghoffer v.

S.N.C. Achille Lauro, 937 F.2d 44, 47 (2d Cir. 1991). As confirmed in the conviction of the hi-

jackers, one of the hijackers shot Klinghoffer in the head and chest using a Kalashnikov assault

rifle and high-speed armor piercing bullets. The hijackers then forced Achille Lauro’s crew


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members to throw Klinghoffer’s body into the sea and clean the blood-stained deck. The hijackers

and their co-conspirators were captured and tried for their crimes by the Italian authorities.

       18.       The following individuals were convicted and imprisoned as a result of the attack:

             •   Maged Moussef al-Molqi

             •   Ibrahim Fatayer Abdelatif

             •   Ahmed Marrouf al-Assadi

             •   Issa Mohammed Abbas

             •   Yusuf Ahmad Yusuf Sa’ad

A translated copy of the Judgment of the High Court of Appeal of Genoa affirming the convictions

is attached as Exhibit 11.

     Date           Location                     U.S. Nationals Killed or Injured
  10/09/1994       Jerusalem                 Scott Dobberstein

       19.       Two members of Hamas “armed with assault rifles and hand grenades opened fire

on a street crowded with outdoor cafes, killing two people and wounding 13 before being cut

down.” Gwen Ackerman, Hamas Says It Was Behind Deadly Attack in Jerusalem, ASSOC. PRESS

(Oct. 10, 1994), https://apnews.com/article/d7a83c92b411eb10389a866a249efc99. “One of the

wounded was a U.S. diplomat, identified by the U.S. Embassy in Tel Aviv as Scott Dobberstein.”

Id. A copy of the article is attached as Exhibit 12.

       20.       Dobberstein is currently the Director of the U.S. Agency for International Devel-

opment in the U.S. Embassy in Mali. See Key Officers, U.S. EMBASSY.GOV, https://ml.usem-

bassy.gov/embassy/bamako/key-officers/ (last visited Oct. 13, 2020). Copies of the homepage for

the U.S. Embassy in Mali, and the subpage on the Embassy’s key officers are attached as Exhibit

13.



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       21.       Hassan Mahmoud ‘Isa Abbas died perpetrating the attack. See Declaration of A.

Spitzen ¶ 45.

     Date          Location                    U.S. Nationals Killed or Injured
  10/10/1994       Lod (abduction); Bir    Nachshon Wachsman
                   Naballah (execution)    Esther Wachsman
                                           Menashe Yechezkel Wachsman
                                           Yitzchak (Tzachi) Wachsman
                                           Uriel Wachsman
                                           Raphael Wachsman
                                           Eliahou Wachsman
                                           Chaim (Hayim) Zvi Wachsman

       22.       “On October 9, 1994, as Nachshon [Wachsman] waited on the side of the road for

a ride to visit a friend, four members of Hamas . . . abducted [Wachsman] from a public street near

Lod, Israel.” Wachsman ex rel. Wachsman v. Islamic Republic of Iran, 603 F. Supp. 2d 148, 152–

53 (D.D. C. 2009). After a standoff with Israeli security forces, three of the perpetrators were

killed, after which the forces “found [Wachsman] dead in a back room with his hands and legs

bound.” Id. at 153. Wachsman, his siblings, and his mother (identified above) were all U.S. citi-

zens. See id. at 154–55.

       23.       According to evidence before the Court in Wachsman, the following perpetrators

were killed as security forces attempted to rescue Wachsman:

             •   Salah a-Din Hassan Salem Jadallah;

             •   Hassan Natshe; and

             •   Abd El Karim Yassin Bader.

Id. at 152–53.

       24.       Jihad Ya’amur was convicted for his role in perpetrating the attack. See Declaration

of N. Kaufman ¶ 8.




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     Date         Location                   U.S. Nationals Killed or Injured
  12/25/1994     Jerusalem               Sara Greenberg

         25.   Sara Greenberg, “a 20-year old American student at the University of Michigan,

was among the injured” when a suicide bomber detonated a “satchel of explosive near a bus full

of Israeli airmen.” Barton Gellman, Suicide Bomber injured 13 in Jerusalem, WASH POST. (Dec.

26, 1994), https://www.washingtonpost.com/archive/politics/1994/12/26/suicide-bomber-injures-

13-in-jerusalem/0be195f1-b89f-4bd6-b0db-30d50077bcb0/. A copy of the article is attached as

Exhibit 14.

         26.   Sara Greenberg’s linked-in page indicates that she attended the University of Mich-

igan from 1992 to 1994 and currently resides in Colorado. A copy of her LinkedIn page is Exhibit

15. According to Westlaw’s PeopleMap (an online service providing information about public

records), Greenberg was born in 1974, received a social security number in Pennsylvania in 1975

or 1976, and is registered to vote. A redacted copy of the PeopleMap report is attached as Exhibit

16.

         27.   Ayman Kamel Radi died perpetrating the attack. See Declaration of A. Spitzen at ¶

45.

     Date        Location                    U.S. Nationals Killed or Injured
  01/22/1995     Netanya                 Gila Afriat-Kurtzer

         28.   U.S. citizen Gila Afriat-Kurtzer was injured in a suicide bombing at the Beit Lid

junction near Netanya. See Complaint at 15, 80, Afriat-Kurtzer v. Arab Bank, No. 05-cv-0388 (NG)

(VVP) (Feb. 25, 2005), ECF No. 3; Almog v. Arab Bank, PLC, 471 F. Supp. 2d 257, 264 (E.D.N.Y.

2007).

         29.   According to Westlaw’s PeopleMap (the online service providing information

about public records), Gila Afriat-Kurtzer was born in 1974 and received a social security number


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in Maryland in 1985 or 1986 in Maryland. A redacted copy of the PeopleMap report is attached as

Exhibit 17.

       30.        Two suicide terrorists died perpetrating the attack:

              •   Anwar Mohammed Atiyyah Sukar

              •   Salah Abd al-Hamid Shaker Mohammad

See Declaration of A. Spitzen ¶ 45.

       Date            Location                          U.S. Nationals Killed
                                                               or Injured
   04/09/1995          Kfar Darom                       Seth (Shlomo) Klein
                                                        Ben-Haim
                                                        Alisa Flatow

       31.        “At or about 12:05 p.m. local time, near Kfar Darom in the Gaza Strip, a suicide

bomber drove a van loaded with explosives in the number 36 Egged bus, causing an explosion that

destroyed the bus.” Haim v. Islamic Republic of Iran, 425 F. Supp. 2d 56, 60 (D.D.C. 2006) (quot-

ing and taking judicial notice of Flatow v. Islamic Republic of Iran, 999 F. Supp. 1, 9 ¶ 6 (D.D.C.

1998)). The bombing killed U.S. citizen Alisa Flatow and injured U.S. citizen Seth Klein Ben-

Haim. See Haim, 425 F. Supp. 2d at 60–61; Flatow, 999 F. Supp. at 7.

       Khaled Mohammad Mahmoud al-Khatib died perpetrating the attack. See Declaration of

A. Spitzen ¶ 45.

     Date            Location                   U.S. Nationals Killed or Injured
  08/21/1995        Jerusalem               Joanne Davenny

       32.        A suicide bombing killed U.S. citizen Joanne Davenny on August 21, 1995, ac-

cording to Department of Justice testimony reporting on an FBI investigation into her death. For-

eign Operations, Export Financing, and Related Programs Appropriations for Fiscal Year 2000,

S. Comm. on Appropriations, 106th Cong. 58 (1999) (statement of Mark M. Richard, U.S.



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Assistant Attorney General). A copy of the testimony presented during the hearing is attached as

Exhibit 18.

       33.        Sufyan Salem Abd Rabbo al-Jabarin died perpetrating the attack. See Declaration

of A. Spitzen ¶ 45.

      Date           Location                   U.S. Nationals Killed or Injured
   02/25/1996       Jerusalem               Matthew Eisenfeld
                                            Ira Weinstein
                                            Leah Stein Mousa
                                            Sara Duker

       34.        U.S. citizens Matthew Eisenfeld, Sara Duker, and Ira Weinstein were killed when

a suicide terrorist “detonated explosives which, at the direction of Hamas, he had carried on the

bus concealed in a travel bag, resulting in the complete destruction of the bus and hurling debris

in excess of 100 meters.” Eisenfeld v. Islamic Republic of Iran, 172 F. Supp. 2d 1, 4 (D.D.C. 2000);

see Weinstein v. Islamic Republic of Iran, 184 F. Supp. 2d 13, 15 (D.D.C. 2002). American Leah

Stein Mousa was also injured in the attack. See Mousa v. Islamic Republic of Iran, 238 F. Supp.

2d 1, 3–5 (D.D.C. 2001).

       35.        Magdi Mohammad Abu Wardah died perpetrating the attack. See Declaration of A.

Spitzen ¶ 45.

       36.        The following individuals were convicted or pled guilty for their roles in perpetrat-

ing the attack:

              •   Ayman Mohammed Nazmi Abd al-Jalil al-Razim

              •   Mohammed Atiya Mahmoud Abu Warda

              •   Akram Ibrahim Mahmoud Qawasme

              •   Hassan Abdel Rahman Hassan Salameh

See Declaration of N. Kaufman ¶ 7–8.


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     Date          Location                   U.S. Nationals Killed or Injured
  03/04/1996       Tel Aviv                Lawrence Belkin

       37.       Gail Belkin, the wife of U.S. citizen Lawrence Belkin, was killed when “a suicide

bomber affiliated with the Shaqaqi faction of the Palestine Islamic Jihad (“PIJ”) detonated a 40-

pound bomb that he was carrying just outside the doors of [a] shopping mall . . . [killing] Gail

Belkin and her mother, plus eleven others, mostly women and children” and injuring 125 others.

Belkin v. Islamic Republic of Iran, 667 F. Supp. 2d 8, 12–13 (D.D.C. 2009).

       38.       Ramez Abed el-Kader Mohammad Abid died perpetrating the attack. See Declara-

tion of A. Spitzen ¶ 45.

     Date          Location                    U.S. Nationals Killed or Injured
  06/09/1996       Beit Shemesh            Yaron Ungar

       39.       U.S. citizen Yaron Ungar, his wife, and his 9-month-old son were traveling home

from a wedding near Beit Shemesh when terrorists connected to Hamas “opened fire on the Un-

gars’ car with two Kalashnikov machine guns,” killing Yaron Ungar and his wife. Estates of Ungar

ex rel. Strachman v. Palestinian Authority, 153 F. Supp. 2d 76, 82–83 (D.R.I. 2001).

       40.       The following individuals were convicted for their roles in perpetrating the attack:

             •   Raid Fakhri Abu Hamadiyah

             •   Jamal Fatah Tzabich Al Hor

             •   Rahman Ismai Abdel Rahman Ghaniemat

See Declaration of N. Kaufman ¶ 8.

 Date              Location of Attack                  U.S. Victims’ Names
  07/30/1997       Jerusalem (Mahane Yehuda            Leah Stern
                   Market)                             Joseph Stern
                                                       Yocheved Kushner
                                                       Shimson Stern
                                                       Shaul Stern



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       41.     With regard to the July 30, 1997, attack, the U.S. District Court for the District of

Columbia made the following findings of fact:

       On Friday, July 30, 1997, two suicide bombers belonging to the Hamas terrorist
       organization and acting on behalf of Hamas entered the Mahane Yehuda outdoor
       produce market in downtown Jerusalem, which was crowded with Sabbath-eve
       shoppers. Each of the bombers carried a briefcase packed with a powerful explosive
       charge. At a pre-arranged signal, the bombers triggered their explosives. The blasts
       ripped through the crowded market, killing 15 shoppers, including decedent Leah
       Stern, and wounding another 168 (hereinafter “the bombing attack”). In a press
       release, Hamas claimed responsibility for the bombing attack.

       . . . As a result of the explosion, [U.S. citizen] Leah Stern suffered horrendous in-
       juries. The explosion caused Leah Stern severe burns, and much of the skin on her
       face was ripped off by the blast. Leah Stern suffered multiple and diffuse lacera-
       tions over the facial area, thorax, abdomen and limbs. Several pieces of shrapnel,
       specifically nails, lodged in her chin, right breast, right arm, both knees and left
       thigh. Leah Stern also suffered a gaping abdominal wound which exposed her in-
       testines. Her left leg was covered with burns and lacerations from the explosion,
       and bones in the lower leg were broken. Leah Stern’s right leg was partially severed
       at the knee, and shrapnel lodged in the remaining portion of her leg.

       . . . Leah Stern expired from her wounds on the scene on July 30, 1997.

Stern v. Islamic Republic of Iran, 271 F. Supp. 2d 286, 289 (D.D.C. 2003) (citations omitted).

Joseph Stern, Yocheved Kushner, Shimson Stern, and Shaul Stern are Leah Stern’s children, are

U.S. citizens, and were also injured by the attack. See id.

       42.     Taufik Ali Mohammed Yassin and Muawiya Mohammad Ahmed Jarara died per-

petrating the attack. See Declaration of A. Spitzen ¶ 45.

       43.     Moaz Sa’id Ahmed Sa’id Bilal was convicted for his role in perpetrating the attack.

See Declaration of N. Kaufman ¶ 8.




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 Date              Location of Attack               U.S. Victims’ Names
  09/04/1997       Jerusalem (Ben Yehuda            Abraham Mendelson
                   Street)                          Gregg Salzman
                                                    Stuart Elliot Hersh
                                                    Avi Elishis
                                                    Daniel Miller
                                                    Yael Botvin
                                                    Diana Campuzano
                                                    Jenny Rubin
                                                    Noam Rozenman
                                                    Deborah Rubin
                                                    Renay Frym
                                                    Elena Rozenman
                                                    Tzvi Rozenman

       44.       On September 4, 1997, “three Hamas suicide bombers with cases of powerful ex-

plosive bombs arrived at the crowded Ben Yehuda Street pedestrian mall in downtown Jerusalem.

The bombers packed the bombs with nails, screws, pieces of glass, and chemical poisons to cause

maximum pain, suffering, and death.” Campuzano v. Islamic Republic of Iran, 281 F. Supp. 2d

258, 261 (D.D.C. 2003) (citations omitted). U.S. citizen Yael Botvin was killed in the attack. See

Foreign Operations, Export Financing, and Related Programs Appropriations for Fiscal Year

2000, S. Comm. on Appropriations, 106th Cong. 58 (1999) (statement of Mark M. Richard, U.S.

Assistant Attorney General). See supra, Exhibit 18. The following U.S. citizens were also injured

by the attack:

             •   Diana Campuzano

             •   Avi Elishis

             •   Gregg Salzman

             •   Jenny Rubin

             •   Daniel Miller

             •   Abraham Mendelson

             •   Stuart Hersh

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                 •   Noam Rozenman

                 •   Deborah Rubin

                 •   Renay Frym

                 •   Elena Rozenman

                 •   Tzvi Rozenman

See Campuzano, 281 F. Supp. 2d at 261.

           45.       The following individuals died perpetrating the attack:

                 •   Bashar Mohammad As’ad Sawalha

                 •   Yousef Jameel Ahmad Shuli

                 •   Khalil Ibrahim Tawfiq Sharif

See Declaration of A. Spitzen ¶ 45.

           46.       Moaz Sa’id Ahmed Sa’id Bilal was convicted for his role in perpetrating the attack.

See Declaration of N. Kaufman ¶ 8.1

    Date               Location of Attack                        U.S. Victims’ Names
     12/31/2000        Jerusalem                                 Binyamin Kahane


           47.       U.S. citizen Benyamin Kahane and his wife were killed “when Palestinian snipers

opened fire [on them] while they were driving home from Jerusalem on the Ramallah bypass road.”

See Binyamin Zeev Kahane, ISRAEL MINISTRY OF FOREIGN AFFAIRS, https://mfa.gov.il/MFA/For-

eignPolicy/Terrorism/Victims/Pages/Binyamin%20Zeev%20Kahane.aspx.; Acosta v. The Islamic

Republic of Iran, 574 F. Supp. 2d 15, 19 (D.D.C. 2008) (confirming Kahane’s citizenship). A copy

of the story is attached as Exhibit 19.




1
    Bilal was also convicted for his role in perpetrating the attack that severely injured Leah Stern on July 30, 1997.

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       48.      Mustafa Mahmoud Mohamed Masalmani pled guilty for his role in perpetrating the

attack. See Declaration of N. Kaufman ¶ 7.

 Date             Location of Attack                U.S. Victims’ Names
  03/28/2001      Neve Yamin                        Netanel Herskovitz
                                                    Martin Herskovitz
                                                    Yaakov Herskovitz
                                                    Pearl Herskovitz

       49.      Americans Netanel, Martin, Yaakov, and Pearl Herskovitz were injured when a

suicide bomber “blew himself up outside a gas station near Kfar Sava,” outside Tel Aviv, killing

two people and injuring four others. Third Amended Complaint at 68, Strauss v. Crédit Lyonnais,

S.A., No. 06-cv-0702-DLI-RML (E.D.N.Y. Jan. 28, 2008), ECF No. 127; Order on Motion for

Summary Judgment, Strauss v. Crédit Lyonnais, S.A., No. 06-cv-0702-DLI-RML (E.D.N.Y. Feb.

28, 2013), ECF No. 340 (discussing the Third Amended Complaint).

       50.      Fadi Attallah Yusuf Amer died perpetrating the attack. See Declaration of A.

Spitzen ¶ 45.

       51.      Tareq Muhammad Abd al-Latif Abu Mariam was convicted for his role in perpe-

trating the attack. See Declaration of N. Kaufman ¶ 8.

 Date             Location of Attack                U.S. Victims’ Names
  06/01/2001      Tel Aviv (Dolphinarium)           Unnamed Victim

       52.      On June 1, 2001, a Hamas operative and suicide terrorist detonated himself near a

group of people at the entrance to the “Water World” club in the Tel Aviv Dolphinarium, killing

22 and injuring 83 others. See Suicide Terrorists in the Current Conflict, ISRAELI SECURITY

AGENCY; Declaration of Itzhak Ilan 1–3, Shatsky v. Syrian Arab Republic, No. 08-cv-0496 (RJL)

(D.D.C. Sept. 14, 2020), ECF No. 50-1. A copy of the relevant sections of the translated report is

attached as Exhibit 20.



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       53.      A U.S. national was injured in this attack, according to the U.S. Department of

Justice’s Office of Justice for Victims of Overseas Terrorism (“OVT”). The OVT investigates such

overseas terror attacks and provides services to U.S. citizens or family members of U.S. citizens

who suffer direct physical, emotional, or financial harm as a result. 42 U.S.C. §§ 10607e(2),

10603C; 28 C.F.R. § 94.12(u)(1). The OVT does not release the names of such victims, but it

publishes the date and location of confirmed attacks harming U.S. citizens or their family members

on its website, and the Dolphinarium attack is on the OVT’s list. See DOJ/OVT Interactive World

Map - Near East, JUSTICE.GOV, https://www.justice.gov/nsd-ovt/dojovt-interactive-world-

map/near-east (last visited Oct. 11, 2020). A copy of the DOJ/OVT list is attached as Exhibit 21.

       54.      Said Hussein Hasan Hutari died perpetrating the attack. See Declaration of A.

Spitzen ¶ 45.

       55.      Raed Al-Hutari was convicted for his role in perpetrating the attack. See Declara-

tion of N. Kaufman ¶ 8.

 Date             Location of Attack                   U.S. Victims’ Names
  08/09/2001      Jerusalem (Sbarro Restaurant)        Steven Greenbaum
                                                       Alan Hayman
                                                       Shirlee Hayman
                                                       Malka Chana Roth
                                                       Frimet Roth
                                                       Elisheva Roth
                                                       Pesia Roth
                                                       Rivka Roth Rappaport
                                                       Zvi Roth
                                                       Shaya Roth
                                                       Pinchas Roth
                                                       Judith Lilian Greenbaum

       56.      “On August 9, 2001, an unremarkable day in Jerusalem was rendered tragically

memorable when [a suicide terrorist] detonated a ten-pound bomb at a Sbarro restaurant. The




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resulting explosion killed 15 people . . . .” Roth v. Islamic Republic of Iran, 78 F. Supp. 3d 379,

387–88 (D.D.C. 2015).

         57.       The following U.S. citizens were either killed or injured by the attack:

               •   Malka Chana Roth

               •   Frimet Roth

               •   Elisheva Roth

               •   Pesia Roth

               •   Rivka Roth Rappaport

               •   Zvi Roth

               •   Shaya Roth

               •   Pinchas Roth

               •   Judith Lilian Greenbaum

               •   Steven Greenbaum

               •   Alan Hayman

               •   Shirlee Hayman

See id. at 389–90; Greenbaum v. Islamic Republic of Iran, 451 F. Supp. 2d 90, 96, 108 (D.D.C.

2006).

         58.       Izz al-Din Shuheil Ahmad al-Masri died perpetrating the attack. See Declaration of

A. Spitzen ¶ 45.

         59.       The following terrorists pled guilty for their roles in perpetrating the attack:

               •   Ahlam al-Tamini

               •   Bilal Yaqub Ahmed Barghouti

               •   Muhammad Waal Muhammad Daghlas


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See Declaration of N. Kaufman ¶ 7.

 Date               Location of Attack               U.S. Victims’ Names
  11/04/2001        Jerusalem (French Hill)          Ilana Schertzman Cohen
                                                     Leslie Schertzman
                                                     Donald Schertzman
                                                     Daniel Schertzman
                                                     Ariella Schertzman Fisher
                                                     Abraham Schertzman
                                                     Yehuda Schertzman
                                                     Chana Aidel Miller
                                                     Myriam Miller
                                                     Tova Miller

       60.        “On the afternoon of November 4, 2001, a Palestinian gunman opened fire on an

Israeli bus traveling through the French Hill neighborhood of Jerusalem.” Schertzman Cohen v.

Islamic Republic of Iran, No. CV 17-1214 (JEB), 2019 WL 3037868, at *1 (D.D.C. July 11, 2019).

The following U.S. citizens were injured by the attack:

             •    Ilana Schertzman Cohen

             •    Leslie Schertzman

             •    Donald Schertzman

             •    Daniel Schertzman

             •    Ariella Schertzman Fisher

             •    Abraham Schertzman

             •    Yehuda Schertzman

             •    Chana Aidel Miller

             •    Myriam Miller

             •    Tova Miller

See id. at *10.




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       61.       Twenty additional individuals filed actions under 18 U.S.C. § 2333 as U.S. nation-

als injured by this attack. See Abecassis v. Wyatt, 704 F. Supp. 2d 623, 635 n.4 (S.D. Tex. 2010);

Complaint at ¶ 293, Abecassis v. Wyatt, 704 F. Supp. 2d 623, 635 n.4 (S.D. Tex.), No. 4:09-cv-

03884 (S.D. Tex. Jan. 2, 2009), ECF No. 3; Linde v. Arab Bank, PLC, 384 F. Supp. 2d 571, 575

(E.D.N.Y. 2005); Complaint at ¶¶ 118–28, Coulter v. Arab Bank, PLC, 384 F. Supp. 2d 571

(E.D.N.Y. Jan. 21, 2005), ECF No. 1.

       62.       Hatem Yaqin Ayesh Shweiki died perpetrating the attack. See Declaration of A.

Spitzen ¶ 45.

 Date              Location of Attack                 U.S. Victims’ Names
  12/01/2001       Jerusalem (Ben Yehuda              Jason Kirschenbaum
                   Street)                            Isabelle Kirschenbaum
                                                      Martin Kirschenbaum
                                                      Joshua Kirschenbaum
                                                      David Kirschenbaum
                                                      Danielle Teitlebaum

       63.       On December 1, 2001, a suicide bombing on Ben Yehuda Street in Jerusalem re-

sulted in the deaths of 10 people and injury to 120 others. See Kirschenbaum v. Islamic Republic

of Iran, 572 F. Supp. 2d 200, 205–06 (D.D.C. 2008).

       64.       The following U.S. citizens were injured by the attack:

             •   Jason Kirschenbaum

             •   Isabelle Kirschenbaum

             •   Martin Kirschenbaum

             •   Joshua Kirschenbaum

             •   David Kirschenbaum

             •   Danielle Teitlebaum

See id. at 204–05.


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       65.       Fifteen additional individuals filed an action under 18 U.S.C. § 2333 as U.S. na-

tionals injured by this attack. See Strauss v. Crédit Lyonnais, S.A., 925 F. Supp. 2d 414, 418

(E.D.N.Y. 2013); Complaint at ¶¶ 360–438, Strauss v. Crédit Lyonnais, S.A., 925 F. Supp. 2d 414

(E.D.N.Y. 2013), No. 1:06-cv-00702-DLI-RML (E.D.N.Y. Feb. 16, 2006), ECF No. 1.

       66.       Two suicide terrorists died perpetrating the attack: Nabil Mahmoud Al-Halabiah;

and Osama Mohammed Bahr. See Declaration of A. Spitzen ¶ 45.

     Date          Location of Attack                   U.S. Victims’ Names
  12/12/2001       Near Emmanuel                        Benyamin Andrew Pilant
                                                        Rebecca Pilant
                                                        Samuel Philips Haistings Pilant
                                                        Robert Eliot Haistings Pilant
                                                        Elizabeth Anna Haistings Pilant

       67.       On December 12, 2001, a suicide terrorist detonated a roadside bomb next to the

Number 189 bus, causing it to swerve off of the road. He then opened fire with an automatic assault

rifle, killing and injuring many individuals.

       68.       Among those injured by the attack were U.S. citizens:

             •   Benyamin Andrew Pilant

             •   Rebecca Pilant

             •   Samuel Philips Haistings Pilant

             •   Robert Eliot Haistings Pilant

             •   Elizabeth Anna Haistings Pilant

Based on their injuries, the above-named victims brought a federal action under 18 U.S.C. §

1605A and other statutes against the Islamic Republic of Iran and other parties. See Complaint ¶¶

23–24, Pilant v. Islamic Republic of Iran, No. 11-cv-1077-RMC (D.D.C. Feb. 21, 2012), ECF

No. 3. The complaint, signed by attorneys Gavriel Mairone of MM-Law LLC and Michael J.

Miller of The Miller Firm LLC, states that the above-named victims were U.S. citizens. See id.

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       69.       Asem Yousef Mohamed Hamed (aka Assem Yousef Rihan) died perpetrating the

attack. See Declaration of A. Spitzen ¶ 45.

     Date          Location of Attack                  U.S. Victims’ Names
  01/17/2002       Hadera                              Aharon Ellis
                                                       Prince Shaleak
                                                       Mellonee Ellis
                                                       Jordan Ellis
                                                       Francine Ellis
                                                       Lynne Ellis
                                                       Yihonadav Ellis
                                                       Tsaphirah Ellis
                                                       Aron Carter
                                                       Reuven Carter
                                                       Shanon Carter
                                                       Shayrah Carter
                                                       Amitai Carter
                                                       Yoshavyah Carter
                                                       Leslye Knox

       70.       Judge Marrero of this Court made the following findings of fact about the January

17, 2002 attack:

       On January 17, 2002, at approximately 10:45 p.m., an agent of the PLO and PA
       arrived at the banquet hall with an M–16 assault rifle, three clips of bullets, and a
       hand grenade. The agent shot a security guard at the entrance to the hall, and then
       entered the hall and opened fire on the crowd. There were approximately 180 peo-
       ple present. Six people were killed and approximately thirty were injured.

Knox v. Palestine Liberation Org., 442 F. Supp. 2d 62, 66 (S.D.N.Y. 2006).

       71.       The following U.S. citizens were either killed or injured by the attack:

             •   Aharon Ellis

             •   Prince Shaleak

             •   Mellonee Ellis

             •   Jordan Ellis

             •   Francine Ellis

             •   Lynne Ellis

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               •   Yihonadav Ellis

               •   Tsaphirah Ellis

               •   Aron Carter

               •   Reuven Carter

               •   Shanon Carter

               •   Shayrah Carter

               •   Amitai Carter

               •   Yoshavyah Carter

               •   Leslye Knox

See id. at 81.

         72.       Abdul Salaam Sadek Mer’y Hassoun died perpetrating the attack. See Declaration

of A. Spitzen ¶ 45.

         73.       Ahmed Ali Mahmoud Abu-Khader and Nasser Mahmoud Ahmed Aweis were con-

victed or pled guilty for their roles in perpetrating the attack. See Declaration of N. Kaufman ¶ 7–

8.

        Date         Location of Attack               U.S. Victims’ Names
     01/22/2002      Jerusalem (Jaffa Road)           Shayna Gould
                                                      Ronald Gould
                                                      Elise Gould
                                                      Jessica Gould Rine
                                                      Shmuel Waldman
                                                      Henna Waldman
                                                      Morris Waldman

         74.       The following U.S. citizens received a judgment in this case under 18 U.S.C. §

2333 stemming from injuries inflicted by the attack

               •   Shayna Gould

               •   Ronald Gould

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               •   Elise Gould

               •   Jessica Gould Rine

               •   Shmuel Waldman

               •   Henna Waldman

               •   Morris Waldman

See Sokolow v. Palestine Liberation Org., No. 04-cv-0397 (GBD), 2015 WL 10852003, at *1

(S.D.N.Y. Oct. 1, 2015).

         75.       Said Ibrahim Said Ramadan died perpetrating the attack. See Declaration of A.

Spitzen ¶ 45.

         76.       The following individuals were convicted or pled guilty for their roles in perpetrat-

ing the attack:

               •   Mohamed Sami Ibrahim Abdullah

               •   Ahmed Taleb Mustafa Al-Barghouti

               •   Majed Isma’il Mohamed Al-Masri

               •   Nasser Mahmoud Ahmed Aweis2

               •   Fares Sadeq Mohamed Ghanem

               •   Ibrahim Adnan Najib Abdel Hai

               •   Mohamed Abdel Rahman Salem Mousleh

               •   Bashar Barghouti

See Declaration of N. Kaufman ¶ 7–8.




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 Aweis was also convicted for his role in perpetrating the attack that took the life of Aharon Ellis on January 17,
2002.

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     Date          Location of Attack                  U.S. Victims’ Names
  01/27/2002       Jerusalem (Jaffa Road)              Mark Sokolow
                                                       Elana Sokolow
                                                       Jamie Sokolow
                                                       Lauren Sokolow
                                                       Rena Sokolow

       77.       The following U.S. citizens received a judgment in this case under 18 U.S.C. § 2333

stemming from injuries inflicted by the attack:

             •   Mark Sokolow

             •   Elana Sokolow

             •   Jamie Sokolow

             •   Lauren Sokolow

             •   Rena Sokolow

See Sokolow v. Palestine Liberation Org., No. 04-cv-0397 (GBD), 2015 WL 10852003, at *1

(S.D.N.Y. Oct. 1, 2015).

       78.       Wafa Ali Khalil Idris died perpetrating this attack. See Declaration of A. Spitzen ¶

45.

       79.       Munzar Mahmoud Khalil Noor was convicted for his role in perpetrating the attack.

See Declaration of N. Kaufman ¶ 8.

 Date              Location of Attack                  U.S. Victims’ Names
  02/16/2002       Karnei Shomron                      Steven Braun
                                                       Chana Friedman
                                                       Keren Shatsky
                                                       Leor Thaler
                                                       Rachel Thaler
                                                       Hillel Trattner

       80.       “On February 16, 2002, a [suicide terrorist] attacked a pizzeria in Karnei Shomron,

a town in the West Bank. The bombing killed United States citizens Keren Shatsky and Rachel



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Thaler and wounded United States citizens Steven Braun, Chana Friedman, Leor Thaler, and Hillel

Trattner . . . .” Shatsky v. Palestine Liberation Org., 955 F.3d 1016, 1022 (D.C. Cir. 2020).

       81.     Sadek Abdel Hafez died perpetrating the attack. See Declaration of A. Spitzen ¶ 45.

     Date        Location of Attack                  U.S. Victims’ Names
  02/18/2002     Kibbutz Kissufim                    Moshe Saperstein

       82.     On February 18, 2002, a member of the Al Aqsa Martyrs Brigades shot Moshe

Saperstein and killed three others. Saperstein v. Palestinian Auth., No. 04-20225-CIV, 2008 WL

4467535, at *4 (S.D. Fla. Sept. 29, 2008). Saperstein received a final judgment against the PLO

and PA for damages under 18 U.S.C. § 2333 stemming from this attack. See Final Judgment in

Favor of Plaintiff Moshe Saperstein, Saperstein v. Palestinian Auth., No. 04-cv-20225-

SEITZ/TURNOFF (S.D. Fla. Mar. 8, 2007), ECF No. 129; Third Amended Complaint, Saperstein

v. Palestinian Auth., No. 04-cv-20225-SEITZ/TURNOFF (S.D. Fla. Aug. 14, 2006), ECF No. 68.

       83.     Mohammad Mahmoud Mohammad Al-Kasir died perpetrating the attack. See Dec-

laration of A. Spitzen ¶ 45.

       84.     Jihad Naim Mutzran and Nizar Khadar Mohammed Dahliz were convicted or pled

guilty for their roles in perpetrating the attack. See Declaration of N. Kaufman ¶ 7–8.

     Date        Location of Attack                  U.S. Victims’ Names
  03/09/2002     Jerusalem                           Asael Anicca
                                                     Joseph Cohen

       85.     On March 9, 2002, a suicide terrorist detonated a bomb in Café Moment in Jerusa-

lem, killing 11 and injuring 58. See Suicide Terrorists in the Current Conflict, ISRAELI SECURITY

AGENCY; Declaration of Itzhak Ilan 1–3, Shatsky v. Syrian Arab Republic, No. 08-cv-0496 (RJL)

(D.D.C. Sept. 14, 2020), ECF No. 50-1. A copy of the relevant sections of the translated report is

attached as Exhibit 20.




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        86.       Among those injured by the attack were U.S. citizens Asael Anicca and Joseph

Cohen. Based on their injuries, the above-named victims brought a federal action under 18 U.S.C.

§ 2333 and other statutes against Chevron Corporation and other defendants. See Second Amended

Complaint, Brill v. Chevron Corp., No. 15-cv-4916-JD (N.D. Cal. May 8, 2017), ECF No. 72. The

complaint, signed by attorney Raymond Paul Boucher of Boucher LLP, states that both Anicca

and Cohen were U.S. citizens. See id. at 61, 83.

        87.       Fouad Ismail Al-Hourani died perpetrating the attack. See Declaration of A. Spitzen

¶ 45.

     Date           Location of Attack                  U.S. Victims’ Names
  03/21/2002        Jerusalem                           Alan J. Bauer
                                                        Yehonathon Bauer
                                                        Binyamin Bauer
                                                        Yehuda Bauer
                                                        Daniel Bauer

        88.       The following U.S. citizens received a judgment in this case under 18 U.S.C. §

2333 stemming from injuries inflicted by the attack:

              •   Alan J. Bauer

              •   Yehonathon Bauer

              •   Binyamin Bauer

              •   Yehuda Bauer

              •   Daniel Yichye Bauer

See Sokolow v. Palestine Liberation Org., No. 04-cv-0397 (GBD), 2015 WL 10852003, at *1

(S.D.N.Y. Oct. 1, 2015).

        89.       Mohammed Mashoor Mohammed Hashaika died perpetrating the attack. See Dec-

laration of A. Spitzen ¶ 45.



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        90.       The following terrorists were convicted or pled guilty for their roles in perpetrating

the attack.

              •   Kahira Sa’id Al-Sa’di

              •   Abdel Karim Ratab Yunis Aweis

              •   Nasser Jamal Mussa Shawish (aka Adham)

              •   Sana’a Mohamed Shehadeh

See Declaration of N. Kaufman ¶ 7–8.

     Date           Location of Attack                   U.S. Victims’ Names
  03/24/2002        Near Umm Safah                       Esther Klieman

        91.       “On March 24, 2002, terrorists with machine guns attacked a public bus near Neve

Tzuf, an Israeli settlement in the West Bank. Esther Klieman, an American schoolteacher, was

shot and killed. In the aftermath, Al Aqsa Martyrs Brigade, an organization designated as a Foreign

Terrorist Organization by the U.S. Department of State, claimed responsibility for the attack.”

Estate of Klieman v. Palestinian Auth., 82 F. Supp. 3d 237, 240 (D.D.C. 2015), aff’d sub nom.

Estate of Klieman ex rel. Kesner v. Palestinian Auth., 923 F.3d 1115 (D.C. Cir. 2019), cert.

granted, judgment vacated, 140 S. Ct. 2713 (2020), and opinion reinstated in part, No. 15-7034,

2020 WL 5361653 (D.C. Cir. Aug. 18, 2020).

        92.       The following terrorists pled guilty for their roles in perpetrating the attack:

              •   Tamar Rassem Salim Rimawi

              •   Hussam Abdul-Kader Ahmad Halabi

              •   Ahmed Hamad Rushdie Hadib

See Declaration of N. Kaufman ¶ 7.




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     Date         Location of Attack                U.S. Victims’ Names
  03/27/2002      Netanya (Park Hotel)              Moshe Naimi
                                                    Hannah Rogen

       93.     On March 27, 2002, a Hamas suicide terrorist detonated a bomb at the Park Hotel

in Netanya, killing 29 people and injuring 144. See Suicide Terrorists in the Current Conflict,

ISRAELI SECURITY AGENCY; Declaration of Itzhak Ilan 1–3, Shatsky v. Syrian Arab Republic, No.

08-cv-0496 (RJL) (D.D.C. Sept. 14, 2020), ECF No. 50-1. A copy of the relevant sections of the

translated report is attached as Exhibit 20.

       94.     Among those injured by the attack were U.S. citizens Moshe Naimi and Hannah

Rogen. Based on their injuries, the above-named victims brought federal actions under 18 U.S.C.

§ 2333 and other statutes against Arab Bank, PLC. See Second Amended Complaint at 19–20,

Litle v. Arab Bank, PLC, No. 04-cv-5449 (NG) (VVP) (E.D.N.Y. Apr. 10, 2007), ECF No. 307;

Complaint, Coulter v. Arab Bank, PLC, No. 05-cv-0365 (E.D.N.Y. Jan. 21, 2005), ECF No. 1. The

complaints, signed by attorneys Mark S. Werbner of Sayles Werbner P.C. and Gary M. Osen of

Osen & Associate, LLC, state that the above-named victims were U.S. citizens. See Second

Amended Complaint at 20, 107; Complaint at 67, 109.

       95.     Abdel-Basit Mohammed Qasem Odeh died perpetrating the attack. See Declaration

of A. Spitzen ¶ 45.

       96.     Abbas al-Sayed was convicted for his role in perpetrating the attack. See Declara-

tion of N. Kaufman ¶ 8.




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     Date          Location of Attack                  U.S. Victims’ Names
  03/31/2002       Efrat                               Deborah Fenichel
                                                       Ilanit Fenichel
                                                       Moshe Fenichel
                                                       Netanel Fenichel

       97.       Netanel Fenichel was driving with his parents in Efrat when a suicide terrorist det-

onated an explosive device as the car was driving past him. See Suicide Terrorists in the Current

Conflict, ISRAELI SECURITY AGENCY; Declaration of Itzhak Ilan 1–3, Shatsky v. Syrian Arab Re-

public, No. 08-cv-0496 (RJL) (D.D.C. Sept. 14, 2020), ECF No. 50-1. A copy of the relevant

sections of the translated report is attached as Exhibit 20.

       98.       As a result of the attack, the following U.S. citizens were injured:

             •   Netanel Fenichel

             •   Deborah Fenichel

             •   Ilanit Fenichel

             •   Moshe Fenichel

Based on their injuries, the above-named victims brought a federal action under 18 U.S.C. § 2333

and other statutes against Arab Bank, PLC. See Second Amended Complaint at 15–16, Litle v.

Arab Bank, PLC, No. 04-cv-5449 (NG) (VVP) (E.D.N.Y. Apr. 10, 2007), ECF No. 307. The com-

plaint, signed by attorney Mark S. Werbner of Sayles Werbner P.C., states that the above-named

victims were U.S. citizens. See id. at 15–16, 107.

       99.       Jamil Khalaf Mustafa Hamed died perpetrating the attack. See Declaration of A.

Spitzen ¶ 45.

     Date          Location of Attack                  U.S. Victims’ Names
  05/07/2002       Rishon LeZion                       Esther Bablar
                                                       Jacqueline Chambers
                                                       Levana Cohen Harooch



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        100.    On May 7, 2002 a suicide terrorist detonated a bomb in the Sheffield Club, a bil-

liards club in Rishon LeZion, killing 16, and injuring 51. See Suicide Terrorists in the Current

Conflict, ISRAELI SECURITY AGENCY; Declaration of Itzhak Ilan 1–3, Shatsky v. Syrian Arab Re-

public, No. 08-cv-0496 (RJL) (D.D.C. Sept. 14, 2020), ECF No. 50-1. A copy of the relevant

sections of the translated report is attached as Exhibit 20.

        101.    U.S. citizen Esther Bablar was wounded in the attack, and U.S. citizens Jacqueline

Chambers and Levana Cohen Harooch were also injured by the attack. See Declaration of J. Cham-

bers, attached as Exhibit 22.

        102.    Mohammad Jamil Muamar, was killed while perpetrating the attack. See Declara-

tion of A. Spitzen ¶ 45.

        103.    Muhammad Imran was convicted for his role in perpetrating the attack. See Decla-

ration of N. Kaufman ¶ 8.

     Date         Location of Attack                   U.S. Victims’ Names
  05/19/2002      Netanya                              Gloria Kushner

        104.    U.S. citizen Gloria Kushner was injured in an open-air market in Netanya when a

suicide terrorist blew himself up between the stalls, killing 3 and injuring 60. See Suicide Terrorists

in the Current Conflict, ISRAELI SECURITY AGENCY; Declaration of Itzhak Ilan 1–3, Shatsky v.

Syrian Arab Republic, No. 08-cv-0496 (RJL) (D.D.C. Sept. 14, 2020), ECF No. 50-1. A copy of

the relevant sections of the translated report is attached as Exhibit 20.

        105.    Based on her injuries, Kushner brought a federal action under 18 U.S.C. § 2333 and

other statutes against Arab Bank, PLC. See First Amended Complaint, Linde v. Arab Bank, PLC,

No. 04-cv-2799 (NG) (ASC) (E.D.N.Y. Aug. 10, 2004), ECF No. 4. The complaint, signed by

attorney David H. Wollmuth of Wollmuth Maher & Deutsch LLP, states that Kushner was a U.S.

citizen. See id. at 28, 67.

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       106.    Osama Adel Mohammad Beshkar died perpetrating the attack. See Declaration of

A. Spitzen ¶ 45.

       107.    Allam Ahmad Asad Kaabi and Du’a Ziyad Jamil Jayusi pled guilty for their roles

in perpetrating the attack. See Declaration of N. Kaufman ¶ 7.

     Date          Location of Attack                  U.S. Victims’ Names
  06/18/2002       Gilo                                Faye Chana Benjaminson
                                                       Gila Aluf
                                                       Sheila Gottlieb
                                                       Moshe Gottlieb
                                                       Seymour Gottlieb

       108.    On June 18, 2002, a suicide terrorist connected to Hamas boarded the Egged Bus

No. 32 near Gilo and detonated an explosive device, killing 19 and injuring 50. See Suicide Ter-

rorists in the Current Conflict, ISRAELI SECURITY AGENCY; Declaration of Itzhak Ilan 1–3, Shatsky

v. Syrian Arab Republic, No. 08-cv-0496 (RJL) (D.D.C. Sept. 14, 2020), ECF No. 50-1. A copy

of the relevant sections of the translated report is attached as Exhibit 20.

       109.    As a result of the attack, the following U.S. citizens were killed or injured:

           •   Moshe Gottlieb

           •   Sheila Gottlieb

           •   Seymour Gottlieb

           •   Faye Chana Benjaminson

           •   Gila Aluf

Based on their injuries, the above-named victims brought federal actions under 18 U.S.C. § 2333

and other statutes against Arab Bank, PLC. See Second Amended Complaint, Litle v. Arab Bank,

PLC, No. 04-cv-5449 (NG) (VVP) (E.D.N.Y. Apr. 10, 2007), ECF No. 307; Complaint, Coulter

v. Arab Bank, PLC, No. 05-cv-0365 (E.D.N.Y. Jan. 21, 2005), ECF No. 1. The complaints, signed

by attorneys Mark S. Werbner of Sayles Werbner P.C. and Gary M. Osen of Osen & Associate,

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LLC, state that the above-named victims were U.S. citizens. See Second Amended Complaint at

17, 107; Complaint at 69, 109.

       110.     Mohammed Hazza Al-Ghoul died perpetrating the attack. See Declaration of A.

Spitzen ¶ 45.

       111.     Fahmi Id Ramdan Mashahara was convicted for his role in perpetrating the attack.

See Declaration of N. Kaufman ¶ 8.

     Date         Location of Attack                 U.S. Victims’ Names
  06/19/2002      Jerusalem (French Hill)            Leonard Mandelkorn

       112.     U.S. citizen Leonard Mandelkorn received a judgment in this case under 18 U.S.C.

§ 2333 stemming from injuries caused by the attack. See Sokolow v. Palestine Liberation Org.,

No. 04-cv-0397 (GBD), 2015 WL 10852003, at *2 (S.D.N.Y. Oct. 1, 2015).

       113.     Sa’id Wadah Hamid Awada, was killed while perpetrating the attack. See Declara-

tion of A. Spitzen ¶ 45. The evidence at trial showed that Awada was seventeen years old at the

time of his death.

     Date         Location of Attack                 U.S. Victims’ Names
  07/30/2002      Jerusalem                          Meshulam Ben Meir

       114.     On July 30, 2002, U.S. citizen Meshulam Ben Meir was attacked by a Palestinian

suicide terrorist who detonated a bomb about five meters away from him. As a result of this attack,

Meir suffered serious physical and emotional injuries. See Miller v. Arab Bank, PLC, 372 F. Supp.

3d 33, 41 (E.D.N.Y. 2019); Complaint at 5, Pam v. Arab Bank, No. 18-cv-4670-RPK-PK

(E.D.N.Y. Aug. 17, 2018), ECF No. 1.

       115.     Hazem Atta Sarasra died perpetrating the attack. See Declaration of A. Spitzen ¶

45.




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     Date        Location of Attack                     U.S. Victims’ Names
  07/31/2002     Jerusalem (Hebrew Univer-              Marla Anne Bennett
                 sity)                                  Benjamin Blutstein
                                                        Dina Carter
                                                        Janis Ruth Coulter
                                                        David Gritz
                                                        Norman Gritz
                                                        Diane Coulter Miller
                                                        Robert Coulter, Jr.
                                                        Robert Coulter, Sr.
                                                        Larry Carter
                                                        Shaun Coffel
                                                        Richard Blutstein
                                                        Katherine Baker
                                                        Rebekah Blutstein

       116.    The following U.S. citizens received a judgment in this case under 18 U.S.C. §

2333 caused by injuries inflicted by the attack:

           •   Katherine Baker

           •   Benjamin Blutstein (estate of)

           •   Richard Blutstein

           •   Diane Carter (estate of)

           •   Larry Carter

           •   Shaun Coffel

           •   Robert L. Coulter, Jr.

           •   Diane Coulter Miller

           •   Robert L. Coulter, Sr.

           •   Janis Ruth Coulter (estate of)

           •   Norman Gritz (estate of)

           •   David Gritz (estate of)




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See Sokolow v. Palestine Liberation Org., No. 04-cv-0397 (GBD), 2015 WL 10852003, at *2–3

(S.D.N.Y. Oct. 1, 2015).

       117.       The following individuals were convicted or pled guilty for their roles in perpetrat-

ing the attack:

           •      Abdullah Ghaleb Abdullah Barghouti

           •      Ibrahim Jamil Abd al-Ghani Hamed

           •      Ahmed Taleb Moustafa Barghouti

See Declaration of N. Kaufman ¶ 7–8.

       118.       The evidence at trial proved that the following individuals were convicted for their

roles in perpetrating the attack and paid by Defendants by reason of their imprisonment:

           •      Mohammed Arman (Plaintiffs’ Trial Exs. 39, 72, 1035, 1120)

           •      Wael al-Qassim (Plaintiffs’ Trial Exs. 41, 71, 152, 1120)

           •      Walid Anjas (Plaintiffs’ Trial Exs. 42, 138, 165, 1037, 1120)

           •      Mohamed Awda (Plaintiffs’ Trial Exs. 86, 151, 1120)

     Date           Location of Attack                  U.S. Victims’ Names
  08/31/2002        Har Bracha                          Jacob Rand
                                                        Dalit Rand

       119.       On August 31, 2002, U.S. citizens Jacob and Dalit Rand were walking from syna-

gogue in the Bracha Settlement near Nablus when a suicide terrorist opened fire at them, seriously

injuring both. Based on their injuries, these victims brought a federal action under 18 U.S.C. §

2333 and other statutes against Arab Bank, PLC. See Second Amended Complaint, Litle v. Arab

Bank, PLC, No. 04-cv-5449 (NG) (VVP) (E.D.N.Y. Apr. 10, 2007), ECF No. 307. The complaint,

signed by attorney Mark S. Werbner of Sayles Werbner P.C., states that the above-named victims

were U.S. citizens. See id. at 60, 107.


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       120.     Yusef Ibrahim Hasan Atalla died perpetrating the attack. See Declaration of A.

Spitzen ¶ 45.

     Date         Location of Attack                  U.S. Victims’ Names
  09/19/2002      Tel Aviv                            Avraham Sisso

       121.     “On September 19, 2002, shortly before 12:55 p.m., [a suicide terrorist] boarded a

number 4 bus near 94 Allenby Street in Tel Aviv. Just as the bus began to move, [the suicide

terrorist] activated an explosive device that he was wearing,” killing six and injuring 84 others.

Sisso v. Islamic Republic of Iran, No. CIV.A. 05 0394 (JDB), 2007 WL 2007582, at *2 (D.D.C.

July 5, 2007) (internal citation omitted). One of those killed was Rozana Sisso, the mother of U.S.

citizen Avraham Sisso. See id. at *1–2.

       122.     Iyad Naeem Radad died perpetrating the attack. See Declaration of A. Spitzen ¶ 45.

       123.     Mahmud Hamad Mahmud Sharitah pled guilty for his role in perpetrating the at-

tack. See Declaration of N. Kaufman ¶ 7.

     Date         Location of Attack                  U.S. Victims’ Names
  10/27/2002      Ariel                               Yitzhak Zahavy
                                                      Julie Zahavy
                                                      Tzvee Zahavy
                                                      Bernice Zahavy

       124.     On October 27, 2002, a suicide terrorist entered a gas station near Ariel and deto-

nated an explosive belt. As a result of the attack, the following U.S. citizens were injured:

           •    Yitzhak Zahavy

           •    Julie Zahavy

           •    Tzvee Zahavy

           •    Bernice Zahavy

Declaration of Y. Zahavy, attached as Exhibit 23.



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        125.       Muhammed Kzid Faysal Bastami died perpetrating the attack. See Declaration of

A. Spitzen ¶ 45.

     Date            Location of Attack                  U.S. Victims’ Names
  11/28/2002         Beit Shean                          Bat Zion Levi

        126.       On November 28, 2002, two Al Aqsa Martyrs Brigade terrorists entered a polling

station in Beit Shean, killing six and wounding more than 20, including Jacky Levi, the wife of

U.S. citizen Bat Zion Levi. Based on his injuries, Bat Zion Levi brought a federal action under 18

U.S.C. § 2333 and other statutes against Chevron Corporation and other defendants. See Second

Amended Complaint, Almog v. Arab Bank, No. 04-cv-5564-BMC-PK (E.D.N.Y. Apr. 20, 2015),

ECF No. 1250. The complaint, signed by attorney John M. Eubanks of Motley Ric LLC, states

that Levi was a U.S. citizen. See id.at 17, 20.

        127.       Omar Muhammad Awadh Abu al-Rab and Yousef Muhammad Ragheb Abu al-Rab

died perpetrating the attack. See Declaration of A. Spitzen ¶ 45.

     Date            Location of Attack                  U.S. Victims’ Names
  01/29/2003         Route 60, Israel                    Jacob Steinmetz
                                                         Deborah Steinmetz

        128.       U.S. citizens Jacob Steinmetz and Deborah Steinmetz were injured in a terrorist

attack on January 29, 2003, when two masked men shot at their car as they were driving on Route

60 in Israel. See Weiss v. Nat’l Westminster Bank PLC, 453 F. Supp .2d 609, 614 (E.D.N.Y. 2006);

Declaration of N. Kaufman ¶ 10 (discussing court documents that note Jacob Steinmetz as a victim

in this attack).

        129.       The following terrorists were convicted or pled guilty for their roles in perpetrating

the attack:

              •    Hisham Abd al-Qader Ibrahim Hijazi

              •    Jaser Isma’il Musa al-Barguthi

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           •    Muayad Hamad

See Declaration of N. Kaufman ¶ 7–8.

     Date         Location of Attack                  U.S. Victims’ Names
  03/05/2003      Haifa                               Abigail Litle
                                                      Philip Litle
                                                      Heidi Litle
                                                      Elishua Litle
                                                      Hannah Litle
                                                      Josiah Litle
                                                      Noah Litle

       130.     The following U.S. citizens received a judgment in the United States District Court

for the Eastern District of New York under 18 U.S.C. § 2333 for injuries caused by the attack:

           •    Abigail Litle

           •    Philip Litle

           •    Heidi Litle

           •    Elishua Litle

           •    Hannah Litle

           •    Josiah Litle

           •    Noah Litle

See Stipulation to Enter Final Judgment, Linde v. Arab Bank, No. 06-cv-1623 (BMC) (PK)

(E.D.N.Y. May 24, 2016), ECF No. 1098.

       131.     Mahmoud Omran Al-Qawasmeh died perpetrating the attack. See Declaration of A.

Spitzen ¶ 45.

       132.     The following individuals pled guilty for their roles in perpetrating the attack:

           •    Fadi al-Ja’aba

           •    Munir Rajbi

           •    Mu’az Waal Taleb-Abu Sharakh

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See Declaration of N. Kaufman ¶ 7.

     Date        Location of Attack                   U.S. Victims’ Names
  03/07/2003     Kiryat Arba                          Eli Natan
                                                      Debra Ruth Horovitz
                                                      Moshe Horovitz
                                                      Leah Horovitz
                                                      Shulamite Horovitz
                                                      Batsheva Horovitz
                                                      Nechama Horovitz
                                                      Tvi Horovitz
                                                      Ari Horovitz
                                                      David Horovitz
                                                      Tovi Horovitz
                                                      Uri Horovitz
                                                      Bernice Wolf
                                                      Stanley Wolf
                                                      Brian Wolf

       133.    U.S. citizens Eli Natan and Debra Ruth Horovitz were murdered in their apartment

in Kiryat Arba when terrorists disguised as students infiltrated Kiryat Arba and killed both of them.

The following U.S. citizens were also injured by the attack:

           •   Eli Natan

           •   Debra (“Dina”) Ruth Horovitz

           •   Moshe Horovitz

           •   Leah Horovitz

           •   Shulamite Horovitz

           •   Batsheva Horovitz

           •   Nechama Horovitz

           •   Tvi Horovitz

           •   Ari Horovitz

           •   David Horovitz

           •   Tovi Horovitz

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           •   Uri Horovitz

           •   Bernice Wolf

           •   Stanley Wolf

           •   Brian Wolf

Based on their injuries, the above-named victims brought a federal action under 18 U.S.C. § 2333

and other statutes against Arab Bank, PLC. See Second Amended Complaint, Litle v. Arab Bank,

PLC, No. 04-cv-5449 (NG) (VVP) (E.D.N.Y. Apr. 10, 2007), ECF No. 307. The complaint, signed

by attorney Mark S. Werbner of Sayles Werbner P.C., states that the above-named victims were

U.S. citizens. See id. at 23–27, 107; Declaration of N. Kaufman ¶ 10 (discussing court documents

noting Eli and Dina Horovitz as victims in this attack).

       134.    Muhsin Muhammad Omar al-Qawasmeh and Fadi Ziyad Muhammad Fakhoury

died perpetrating the attack. See Declaration of A. Spitzen ¶ 45.

       135.    Abdallah Ahmad Abd Abu Seif pled guilty for his role in perpetrating the attack.

See Declaration of N. Kaufman ¶ 7.

     Date        Location of Attack                  U.S. Victims’ Names
  04/30/2003     Tel Aviv                            Daniel Rozenstein
                                                     Jack Baxter
                                                     Julia Rozenstein Schon
                                                     Fran Strauss Baxter
                                                     Billy Baxter
                                                     Catharine Baxter
                                                     Barbara Psaroudis
                                                     Alexander Rozenstein
                                                     Esther Rozenstein

       136.    On April 30, 2003, a suicide terrorist detonated an explosive device at the entrance

of Mike’s Place, a pub in Tel Aviv. See Suicide Terrorists in the Current Conflict, ISRAELI SECU-

RITY AGENCY; Declaration of Itzhak Ilan 1–3, Shatsky v. Syrian Arab Republic, No. 08-cv-0496




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(RJL) (D.D.C. Sept. 14, 2020), ECF No. 50-1. A copy of the relevant sections of the translated

report is attached as Exhibit 20.

       137.    The following U.S. citizens were injured by the attack:

           •   Daniel Rozenstein

           •   Jack Baxter

           •   Julia Rozenstein Schon

           •   Fran Strauss Baxter

           •   Billy Baxter

           •   Catharine Baxter

           •   Barbara Psaroudis

           •   Alexander Rozenstein

           •   Esther Rozenstein

Based on their injuries, the above-named victims brought federal actions under 18 U.S.C. § 2333

and other statutes against Arab Bank, PLC and Cairo Amman Bank. See Second Amended Com-

plaint, Litle v. Arab Bank, PLC, No. 04-cv-5449 (NG) (VVP) (E.D.N.Y. Apr. 10, 2007), ECF No.

307; Amended Complaint, Averbach v. Cairo Amman Bank, No. 19-cv-00004 (S.D.N.Y. Apr. 8,

2020), ECF No. 63. The complaints, signed by attorneys Mark S. Werbner of Sayles Werbner P.C.

and Ari Ungar of Osen LLC, state that the above-named victims were U.S. citizens. See Second

Amended Complaint at 12–14, 107; Amended Complaint 35–37, 169.

       138.    Asef Mohammad Hanif and Omar Sharif Khan died perpetrating the attack. See

Declaration of A. Spitzen ¶ 45.




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     Date        Location of Attack                  U.S. Victims’ Names
  05/18/2003     Jerusalem                           Steven Averbach
                                                     Tamir Averbach
                                                     Devir Averbach
                                                     Sean Averbach
                                                     Adam Averbach
                                                     David Averbach
                                                     Maida Averbach
                                                     Michael Averbach
                                                     Eileen Sapadin

       139.    On May 18, 2003, a suicide terrorist detonated an explosive device on a bus on

French Hill in Jerusalem. See Suicide Terrorists in the Current Conflict, ISRAELI SECURITY

AGENCY; Declaration of Itzhak Ilan 1–3, Shatsky v. Syrian Arab Republic, No. 08-cv-0496 (RJL)

(D.D.C. Sept. 14, 2020), ECF No. 50-1. A copy of the relevant sections of the translated report is

attached as Exhibit 20.

       140.    The following U.S. citizens were either killed or injured by the attack:

           •   Steven Averbach

           •   Tamir Averbach

           •   Devir Averbach

           •   Sean Averbach

           •   Adam Averbach

           •   David Averbach

           •   Maida Averbach

           •   Michael Averbach

           •   Eileen Sapadin

Based on their injuries, the above-named victims brought a federal action under 18 U.S.C. § 2333

and other statutes against Cairo Amman Bank. See Amended Complaint, Averbach v. Cairo Am-

man Bank, No. 19-cv-00004 (S.D.N.Y. Apr. 8, 2020), ECF No. 63. The complaint, signed by

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attorney Ari Ungar of Osen LLC, states that the above-named victims were U.S. citizens. See id.

at 3–10, 169.

       141.     Basem Jamal Darwish al-Takuri died perpetrating the attack. See Declaration of A.

Spitzen ¶ 45.

       142.     Samer Atrash pled guilty for his role in perpetrating the attack. See Declaration of

N. Kaufman ¶ 7.

     Date         Location of Attack                  U.S. Victims’ Names
  06/11/2003      Jerusalem                           Alan Beer
                                                      Harry Leonard Beer
                                                      Estelle Carroll
                                                      Phyllis Maisel
                                                      Anna Beer
                                                      Phyllis Pam
                                                      Natan Pam
                                                      Raziel Pam
                                                      Neemah Pam Fisher

       143.     “On June 11, 2003, a Hamas suicide bomber blew up Egged bus number 14A. One

of the deadliest attacks of the year, the explosion killed 17 people, including [U.S. citizen] Alan

Beer, and wounded more than 99.” Beer v. Islamic Republic of Iran, 574 F. Supp. 2d 1, 6 (D.D.C.

2008) (citations omitted). The following U.S. citizens were also injured by the attack:

           •    Harry Leonard Beer

           •    Anna Beer

           •    Phyllis Maisel

           •    Estelle Carroll

           •    Natan Pam

           •    Raziel Pam

           •    Neemah Pam Fisher



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See id. at 14; Miller, 372 F. Supp. 3d at 41; Complaint at 3–5, Pam v. Arab Bank, No. 18-cv-4670-

RPK-PK (E.D.N.Y. Aug. 17, 2018), ECF No. 1.

       144.    Abdel-Muti Mohammad Saleh Shabaneh died perpetrating the attack. See Declara-

tion of A. Spitzen ¶ 45.

       145.    Omar Salah Sharif pled guilty for his role in perpetrating the attack. See Declaration

of N. Kaufman ¶ 7.

     Date        Location of Attack                  U.S. Victims’ Names
  06/17/2003     Route 6, Israel                     Shira Leibovitch

       146.    “On June 17, 2003, the Leibovitch family was traveling along the Trans–Israel

Highway, just west of the town of Kalkilya, Israel. Members of the Palestine Islamic Jihad [] ter-

rorist organization opened fire with Kalashnikov machine guns and pistols on the family’s Mazda

mini-van,” severely injuring U.S. citizen Shira Leibovitch. Leibovitch v. Syrian Arab Republic,

No. 08 C 1939, 2011 WL 444762, at *1 (N.D. Ill. Feb. 1, 2011), rev’d on other grounds sub nom.

Leibovitch v. Islamic Republic of Iran, 697 F.3d 561 (7th Cir. 2012).

       147.    The following individuals were convicted for their roles in perpetrating the attack:

           •   Mohammed Mustafa Mohammed Abu Dura

           •   Ibrahim Yusuf Ibrahim Atiya

           •   Tarek Ahmed Abdel-Karim Hasayin

           •   Samach Samir Mohammed Shubaki

See Declaration of N. Kaufman ¶ 8.




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 Attack           Date           Location of Attack               U.S. Victims’ Names
 Number
                  06/20/2003     Israel                           Eugene Goldstein
                                                                  Lorraine Goldstein
                                                                  Barbara Goldstein-Ingardia
                                                                  Michael Goldstein
                                                                  Chana Freedman

       148.        The following U.S. citizens received a judgment in the United States District Court

for the Eastern District of New York under 18 U.S.C. § 2333 for injuries caused by the attack:

              •    Eugene Goldstein

              •    Lorraine Goldstein

              •    Barbara Goldstein-Ingardia

              •    Michael Goldstein

              •    Chana Freedman

See Stipulation to Enter Final Judgment, Linde v. Arab Bank, No. 06-cv-1623 (BMC) (PK)

(E.D.N.Y. May 24, 2016), ECF No. 1098.

       149.        The following persons were convicted or pled guilty for their roles in perpetrating

the attack:

              •    Ahmad Mustafa Saleh Hamad

              •    Khaled Adb al-Mua’z Zein al-Din Omar

              •    Ahmad Khaled Dawud Hamed

              •    Hisham Abd al-Qader Ibrahim Hijazi

See Declaration of N. Kaufman ¶ 7–8.




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     Date          Location of Attack                U.S. Victims’ Names
  08/19/2003       Jerusalem                         Shalom Goldstein
                                                     Ora Cohen
                                                     Meirav Cohen
                                                     Daniel Cohen
                                                     Orly Cohen
                                                     Shira Cohen
                                                     Elchanan Cohen

       150.    With regard to the August 19, 2003, attack, the U.S. District Court for the District

of Columbia made the following findings of fact:

       On August 19, 2003, Ora Cohen and her then-husband Shalom journeyed to the
       Western Wall, a holy site in Old Jerusalem, for an afternoon of prayer. Their five
       children—daughter Meirav Cohen (7 years old at the time); son Daniel Cohen (6
       years old); daughter Orly Cohen (4 years old); daughter Shira Cohen (1 year old);
       and newborn son, Elchanan Cohen (1 month old)—accompanied them on this fam-
       ily outing. That evening, the Cohen family boarded the Number 2 Egged Bus to
       return home. Because the bus was crowded, the family was forced to split up in
       order to find seating, with Shalom and Shira standing in the middle of the bus apart
       from the rest of the family, who were seated near the front. A few stops short of
       their final destination, Ora observed a gentleman force his way onto the bus and
       remembers the “whole world [going] black.”

       [A] Hamas operative [] had boarded the bus in the Shmuel Ha–Navi neighborhood
       with a bomb strapped to his body. He detonated it almost immediately upon board-
       ing, killing 23 people and injuring 130 more, including every Cohen family member
       aboard.

Cohen v. Islamic Republic of Iran, 238 F. Supp. 3d 71, 75–76 (D.D.C. 2017) (citations omitted).

       151.    Ora Cohen and all of her children are U.S. citizens. See id. at 77. U.S. citizen Sha-

lom Goldstein was also injured in the attack. See Declaration of Shalom Goldstein, Goldstein v.

Islamic Republic of Iran, No. 16-cv-2507 (Dec. 3, 2018), ECF No. 15-1.

       152.    Raed Abdel-Hamid al-Razaq Misk died perpetrating the attack. See Declaration of

A. Spitzen ¶ 45.

       153.    The following persons pled guilty for their roles in perpetrating the attack:

           •   Nasim Rashad Abd el-Wadud Za’tari



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            •   Abdallah Yihya Sharbati

            •   Jalal Jamal Ya’amur

See Declaration of N. Kaufman ¶ 7.

     Date         Location of Attack                   U.S. Victims’ Names
  09/09/2003      Jerusalem                            David Applebaum
                                                       Naava Applebaum
                                                       Debra Applebaum

         154.   On September 9, 2003, U.S. citizens David Applebaum and his daughter Naava

Applebaum were killed when a suicide terrorist detonated an explosive device next to the Café

Hillel in Jerusalem. See Declaration of D. Applebaum, attached as Exhibit 24. Debra Applebaum,

a U.S. citizen, was also injured by the attack. Id.

         155.   Suicide terrorist Ramiz Fahmi Izz al-Din Abu Salim died perpetrating the attack.

See Declaration of A. Spitzen ¶ 45.

     Date         Location of Attack                   U.S. Victims’ Names
  10/04/2003      Haifa                                Chaya Ben-Zaken Zilberstein
                                                       Clara Ben-Zaken

         156.   On October 4, 2003, U.S. citizen Chaya Ben-Zaken Zilberstein, who was pregnant

at the time, was in the Maxim Restaurant in Haifa when a suicide terrorist detonated an explosive

device, severely injuring her and killing 21 others. See Suicide Terrorists in the Current Conflict,

ISRAELI SECURITY AGENCY; Declaration of Itzhak Ilan 1–3, Shatsky v. Syrian Arab Republic, No.

08-cv-0496 (RJL) (D.D.C. Sept. 14, 2020), ECF No. 50-1; Declaration of C. Ben-Zaken, attached

as Exhibit 25. A copy of the relevant sections of the translated report is attached as Exhibit 20.

U.S. citizen Clara Ben-Zaken was also injured by the attack. See Declaration of C. Ben-Zaken,

supra.

         157.   Suicide terrorist Hanadi Taysir Abd al-malik Jaradat died perpetrating the attack.

See Declaration of A. Spitzen ¶ 45.

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 Date               Location of Attack                  U.S. Victims’ Names
  01/29/2004        Jerusalem                           Karen Shifra Goldberg
                                                        Chana Bracha Goldberg
                                                        Esther Zahava Goldberg
                                                        Yitzhak Shalom Goldberg
                                                        Shoshana Malka Goldberg
                                                        Eliezer Simcha Goldberg
                                                        Yaakov Moshe Goldberg
                                                        Tzvi Yehoshua Goldberg

       158.       The following U.S. citizens received a judgment in this case under 18 U.S.C. §

2333 for injuries caused by the attack:

           •      Karen Shifra Goldberg

           •      Chana Bracha Goldberg

           •      Esther Zahava Goldberg

           •      Yitzhak Shalom Goldberg

           •      Shoshana Malka Goldberg

           •      Eliezer Simcha Goldberg

           •      Yaakov Moshe Goldberg

           •      Tzvi Yehoshua Goldberg

See Sokolow v. Palestine Liberation Org., No. 04-cv-0397 (GBD), 2015 WL 10852003, at *3

(S.D.N.Y. Oct. 1, 2015).

       159.       Ali Ja’ara died perpetrating the attack. See Declaration of A. Spitzen ¶ 45.

       160.       The following individuals were convicted or pled guilty for their roles in perpetrat-

ing the attack:

           •      Ahmed Salah

           •      Ali Mohamed Abu-Haliel

           •      Abdul Rahman Maqdad


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              •   Hilmi Hamash

              •   Mohamed Ma’ali

              •   Ahmed Sa’ad

See Declaration of N. Kaufman ¶ 7–8.

     Date           Location of Attack                 U.S. Victims’ Names
  02/22/2004        Jerusalem                          Rebecca Nevies

       161.       On February 22, 2004, U.S. citizen Rebecca Nevies was riding the No. 14 bus in

Jerusalem when a suicide terrorist detonated an explosive device, killing 8 and injuring 60 others,

including Nevies. See Suicide Terrorists in the Current Conflict, ISRAELI SECURITY AGENCY; Dec-

laration of Itzhak Ilan 1–3, Shatsky v. Syrian Arab Republic, No. 08-cv-0496 (RJL) (D.D.C. Sept.

14, 2020), ECF No. 50-1. A copy of the relevant sections of the translated report is attached as

Exhibit 20.

       162.       Based on her injuries, Nevies brought a federal action under 18 U.S.C. § 2333 and

other statutes against Arab Bank, PLC. See Second Amended Complaint, Litle v. Arab Bank, PLC,

No. 04-cv-5449 (NG) (VVP) (E.D.N.Y. Apr. 10, 2007), ECF No. 307. The complaint, signed by

attorney Mark S. Werbner of Sayles Werbner P.C., states that Nevies was a U.S. citizen. See id. at

20, 107.

       163.       Mohammad Issa Khalil Zghool died perpetrating the attack. See Declaration of A.

Spitzen ¶ 45.

       164.       Izz al-din Halid Hussain al-Hamamra was convicted for his role in perpetrating the

attack. See Declaration of N. Kaufman ¶ 8.

     Date           Location of Attack                 U.S. Victims’ Names
  09/22/2004        Jerusalem                          Michael Spitz




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        165.      On September 22, 2004, a suicide terrorist detonated an explosive device near the

French Hill section of Jerusalem, killing two and wounding 17 others, including U.S. citizen Mi-

chael Spitz. See Miller v. Arab Bank, PLC, 372 F. Supp. 3d 33, 41 (E.D.N.Y. 2019); Complaint at

11, Pam v. Arab Bank, No. 18-cv-4670-RPK-PK (Aug. 17, 2018), ECF No. 1.

        166.      Zaynab Ali Isa Abu Salem died perpetrating the attack. See Declaration of A.

Spitzen ¶ 45.

     Date           Location of Attack                  U.S. Victims’ Names
  04/17/2006        Tel Aviv                            Daniel Wultz
                                                        Yekutiel Wultz
                                                        Sheryl Wultz
                                                        Amanda Wultz

        167.      “[D]uring lunchtime on April 17, 2006, a suicide bomber arrived at the Rosh Ha’ir

restaurant in Tel Aviv carrying a powerful explosive device which had been provided to him by

the [Palestinian Islamic Jihad]. The explosion killed eleven people and wounded dozens of others.

Among the wounded w[as] sixteen-year-old [U.S. citizen] Daniel Wultz.” Wultz v. Islamic Repub-

lic of Iran, 864 F. Supp. 2d 24, 30 (D.D.C. 2012) (internal citations omitted). The following U.S.

citizens were also injured by the attack:

              •   Yekutiel Wultz

              •   Sheryl Wultz

              •   Amanda Wultz

See id. at 43. Daniel died of his injuries. See id. at 27.

        168.      Samer Samih Mohammad Hammad died perpetrating the attack. See Declaration

of A. Spitzen ¶ 45.

        169.      The following persons were convicted or pled guilty for their roles in perpetrating

the attack:


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           •   Muhammad Amoudi

           •   Fawaz Rajbi

           •   Fawzi Badriya

See Declaration of N. Kaufman ¶ 7–8.

     Date        Location of Attack                  U.S. Victims’ Names
  03/06/2008     Jerusalem                           Avraham David Moses
                                                     Rivkah Martha Moses
                                                     Naftali Andrew Moses
                                                     David Moriah
                                                     Elisha Dan Moses
                                                     N.M.
                                                     C.M.
                                                     O.D.M.
                                                     A.M.
                                                     Aviad Moriah
                                                     Naftali Shitrit
                                                     Gila Rachel Shitrit
                                                     Meiri Shitrit
                                                     Oshrat Shitrit
                                                     Noya Shitrit
                                                     Yedidya Shitrit
                                                     A. Shitrit
                                                     E. Shitrit
                                                     H. Shitrit

       170.    On March 6, 2008, “a 26-year-old Izz al-Din al-Qassam Brigades operative[], en-

tered the Merkaz HaRav Yeshiva in Jerusalem. . . . armed with a Kalashnikov assault rifle with

nine compatible magazines, two guns (a Beretta pistol and an FN pistol) with four compatible

magazines, and a commando knife.” Force v. Islamic Republic of Iran, No. CV 16-1468 (RDM),

2020 WL 2838527, at *17 (D.D.C. May 31, 2020) (internal citations omitted). He then opened fire

on students in front of the building before entering the building and killing more. See id.

       171.    The following U.S. citizens were either killed or injured by the attack:

           •   Avraham David Moses

           •   Rivkah Martha Moses

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           •   Naftali Andrew Moses

           •   David Moriah

           •   Elisha Dan Moses

           •   N.M.

           •   C.M.

           •   O.D.M.

           •   A. Moriah

           •   Aviad Moriah

           •   Naftali Shitrit

           •   Gila Rachel Shitrit

           •   Meiri Shitrit

           •   Oshrat Shitrit

           •   Noya Shitrit

           •   Yedidya Shitrit

           •   A. Shitrit

           •   E. Shitrit

           •   H. Shitrit

See id. at *17–18.

        172.   Alaa Hisham Abu Dheim died perpetrating the attack. See Declaration of A. Spitzen

¶ 45.

     Date        Location of Attack                U.S. Victims’ Names
  12/18/2010     Beit Shemesh                      Kristine Luken




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       173.       On December 18, 2010 two Palestinian terrorists abducted U.S. citizen Kristine

Luken and another woman, before repeatedly stabbing them, killing Luken and severely injuring

the other. See Affidavit in Support of an Arrest Warrant and a Criminal Complaint at 2–4, United

States v. Fatafta, No. 17-mj-229 (D.D.C. Apr. 13, 2017).

       174.       Ayad Fatafta was convicted for his role in perpetrating the attack. See Declaration

of N. Kaufman ¶ 8.

     Date           Location of Attack                 U.S. Victims’ Names
  06/12/2014        Halhul                             Naftali Fraenkel

       175.       On Thursday, June 12, 2014, sixteen-year-old U.S. citizen Naftali Fraenkel and two

classmates were kidnapped by perpetrators affiliated with Hamas. See Fraenkel v. Islamic Repub-

lic of Iran, 892 F.3d 348, 351 (D.C. Cir. 2018). Their bodies were located after an 18-day search.

See id. at 352.

       176.       The following persons were convicted or pled guilty for their roles in perpetrating

the attack:

              •   Hussam al-Qawasmeh

              •   Ghassan Talal Salman Qawasme

              •   Ahmed Abrahim Mohamad Qawasme

              •   Maher Mustpha Mohamad al-Qawasme

              •   Hasan Ali Qawasme

              •   Hisham Isa Ibd al-Rahman Qawasme

See Declaration of N. Kaufman ¶ 7–8.




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     Date           Location of Attack                   U.S. Victims’ Names
  10/22/2014        Jerusalem                            Chaya Zissel Braun
                                                         Shmuel Braun
                                                         Chana Braun
                                                         Esther Braun
                                                         Murray Braun

          177.   “On the afternoon of October 22, 2014, [a suicide terrorist] . . . drove a car to a light

rail station in Jerusalem and intentionally drove onto the light rail tracks and rammed his vehicle

into the crowd of pedestrians. Braun v. Islamic Republic of Iran, 228 F. Supp. 3d 64, 72 (D.D.C.

2017) (internal quotation omitted). The following U.S. citizens were either killed or injured by the

attack:

             •   Chaya Zissel Braun

             •   Shmuel Braun

             •   Chana Braun

             •   Esther Braun

             •   Murray Braun

See id. at 72–73.

          178.   Abdel Rahman Idris al-Shaludi died perpetrating the attack. See Declaration of A.

Spitzen ¶ 45.

     Date           Location of Attack                   U.S. Victims’ Names
  11/18/2014        Jerusalem                            Aryeh Kupinsky
                                                         Moshe Twersky
                                                         Kalman Ze’ev Levine

          179.   On November 18, 2014, two terrorists entered the Kehillat Bnei Torah buildings in

the Har Nof neighborhood in Jerusalem with a gun and butcher knives and began attacking wor-

shippers, stabbing them before opening fire. See Terror Attack in Jerusalem Synagogue, ISRAEL




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MINISTRY OF FOREIGN AFFAIRS (Nov. 18, 2014). A copy of the story is attached as Exhibit 26. The

following U.S. citizens were killed in the attack:

            •   Aryeh Kupinsky

            •   Moshe Twersky

            •   Kalman Ze’ev Levine

Based on their injuries, the above-named victims brought a federal action under 28 U.S.C. § 1605A

and other statutes against the Syrian Arab Republic. See Amended Complaint, Heching v. Syrian

Arab Republic, No. 17-cv-1192-TSC (D.D.C. Jul. 25, 2017), ECF No. 6. The complaint, signed

by attorney Asher Perlin of his eponymous firm, states that the above-named victims were U.S.

citizens. See id. at 7–9, 37.

        180.    Uday Abu Jamal and Ghassan Muhammad Abu Jamal died perpetrating the attack.

See Declaration of A. Spitzen ¶45.

     Date         Location of Attack                  U.S. Victims’ Names
  10/01/2015      Israel Highway Route 60             Eitam Henkin

        181.    On October 1, 2015, U.S. citizen Eitam Henkin was driving past the town of Beit

Furik with his wife and family when members of Hamas overtook the car and shot Henkin and his

wife in front of their children. See Declaration of Judah Herzel Henkin at 1, Henkin v. Islamic

Republic of Iran (D.D.C. Aug. 27, 2020), ECF No. 21-4; Declaration of N. Kaufman ¶ 10.

        182.    The following individuals were convicted or pled guilty for their roles in the attack:

            •   Yahia Muhamad Naif Abdullah Hajj Hamed

            •   Samir Zahir Ibrahim Kusa

            •   Karam Lutfi Fatahi Razek Al Masri

            •   Amjad Adel Muhamad Aliwi

See Declaration of N. Kaufman ¶ 7–8.

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     Date          Location of Attack                  U.S. Victims’ Names
  10/13/2015       Jerusalem                           Richard Lakin
                                                       Micah Lakin Avni
                                                       Manya Lakin

          183.   “On the morning of October 13, 2015, two Hamas operatives . . . boarded Egged

bus number 78 in the Armon Hanatziv neighborhood of Jerusalem. [One terrorist] was armed with

a gun, and [the other] carried a knife. They hid their weapons under their clothing and waited for

the bus to pick up other passengers. When the bus became full, [one terrorist] proceeded to the

back, where he shot passengers at close range. [The other] used his knife to stab passengers near

the front of the bus.” Force v. Islamic Republic of Iran, No. CV 16-1468 (RDM), 2020 WL

2838527, at *11 (D.D.C. May 31, 2020) (internal citations omitted).

          184.   The following U.S. citizens were either killed or injured by the attack:

             •   Richard Lakin

             •   Micah Lakin Avni

             •   Manya Lakin

See id.

          185.   Bahaa Muhammad Khalil Alyan died perpetrating the attack. See Declaration of A.

Spitzen ¶ 45.

          186.   Balal Abu-Ga’aanem was convicted for his role in perpetrating the attack. See Dec-

laration of N. Kaufman ¶ 8.

     Date          Location of Attack                  U.S. Victims’ Names
  11/19/2015       Gush Etzion                         Ezra Schwartz
                                                       Michael Benzakein
                                                       Jason Geller

          187.   On November 19, 2015, U.S. citizens Ezra Schwartz, Michael Benzakein, and Ja-

son Geller were riding in a van to deliver care packages to Israeli soldiers and beautify a park in


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honor of three Israeli boys who had been kidnapped and murdered in 2014. When the van was

stopped at a busy intersection in Gush Etzion, a terrorist affiliated with Hamas opened fire into the

traffic with an automatic submachine gun, killing Schwartz and injuring Benzakein and Geller.

See DOJ/OVT Interactive World Map - Near East, Justice.gov, https://www.justice.gov/nsd-

ovt/dojovt-interactive-world-map/near-east (last visited Oct. 11, 2020); Declaration of Ruth

Schwartz at 1, Schwartz v. Islamic Republic of Iran, No. 18-cv-1349 (D.D.C. Oct. 17, 2019), ECF

No. 28-1; Declaration of Michael Benzakein at 1, 4–5, Schwartz v. Islamic Republic of Iran, No.

18-cv-1349 (D.D.C. Oct. 17, 2019), ECF No. 28-6; Declaration of Jason Geller at 1, 4–5, Schwartz

v. Islamic Republic of Iran, No. 18-cv-1349 (D.D.C. Oct. 17, 2019), ECF No. 28-12. A copy of

the DOJ/OVT list is attached supra as Exhibit 21.

       188.    Mohammed Abdel Basset al-Haroub pled guilty for his role in perpetrating the at-

tack. See Declaration of N. Kaufman ¶ 7.

     Date         Location of Attack                  U.S. Victims’ Names
  03/08/2016      Tel Aviv                            Taylor Force
                                                      Stuart Force
                                                      Robbi Force
                                                      Kristen Anne Force

       189.    “[O]n March 8, 2016, [a suicide terrorist] existed a mosque and began stabbing

passerby in the Port of Jaffa, just south of Tel Aviv.” Force v. Islamic Republic of Iran, No. CV

16-1468, 2020 WL 2838527, at *8 (D.D.C. May 31, 2020). U.S. citizen Taylor Force died in the

attack, and his parents, Stuart and Robbi, and his sister, Kristen, were injured by the attack. Id.

       190.    Bashar Muhammad Abd al-Qader Masalha died perpetrating the attack. See Decla-

ration of A. Spitzen ¶ 45.

       191.    The following individuals pled guilty for their roles in the attack:

           •   Muhammad Awieda



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           •   Bilal Sawan

See Declaration of N. Kaufman ¶ 7.

     Date        Location of Attack                  U.S. Victims’ Names
  06/30/2016     Kiryat Arba                         Hallal Yaffa Ariel

       192.    On June 30, 2016, a terrorist broke into a home in Kiryat Arba near Hebron and

killed thirteen-year-old Hallal Yaffa Ariel with a knife as she slept. The U.S. Department of Jus-

tice’s OVT confirmed that a U.S. citizen was a victim of the attack. See DOJ/OVT Interactive

World Map - Near East, Justice.gov, https://www.justice.gov/nsd-ovt/dojovt-interactive-world-

map/near-east (last visited Oct. 11, 2020). A copy of the DOJ/OVT list is attached supra as Exhibit

21.

       193.    Mohammad Naser Mahmoud Tarayreh died perpetrating the attack. See Declara-

tion of A. Spitzen ¶ 45.

     Date        Location of Attack                  U.S. Victims’ Names
  07/01/2016     South Hebron Hills                  Chava Mark
                                                     Pedaya Mark
                                                     Tehilla Mark

       194.    On July 1, 2016, Rabbi Michael Mark and his wife, U.S. citizen Chava Mark were

driving with their children in the South Hebron Hills when a terrorist affiliated with Hamas drove

up next to them and opened fire with an automatic rifle, killing Michael Mark and severely injuring

Chava Mark and their two children. Based on their injuries, the Mark family brought a federal

action under 28 U.S.C. § 1605A and other statutes against the Islamic Republic of Iran. See Com-

plaint, Mark v. Islamic Republic of Iran, No. 20-cv-00651-TNM (D.D.C. March 5, 2020), ECF

No. 1. The complaint, signed by attorneys Paul G. Gaston and Asher Perlin, details the attacks and

states that Michael and Chava and their two children were U.S. citizens. See id. at 7–14, 22–23.

       195.    The following persons were convicted for their roles in perpetrating the attack:


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           •   Mohammed Abdel Mohammed al-Amarya

           •   Suhib Jabara Ahmed Alfakiyah

           •   Alaa Raed Salah Zajayer

See Declaration of N. Kaufman ¶ 8.

     Date          Location of Attack                U.S. Victims’ Names
  01/08/2017       Jerusalem                         Unknown

       196.    A U.S. national was killed or injured in this attack, according to the U.S. Depart-

ment of Justice’s OVT. See DOJ/OVT Interactive World Map - Near East, Justice.gov,

https://www.justice.gov/nsd-ovt/dojovt-interactive-world-map/near-east (last visited Oct. 11,

2020). A copy of the DOJ/OVT list is attached supra as Exhibit 21.

       197.    Fadi Ahmad Hamdan Al-Qunbar died perpetrating the attack. See Declaration of

A. Spitzen ¶ 45.

     Date          Location of Attack                U.S. Victims’ Names
  12/13/2018       Ofra                              Nathaniel Felber
                                                     Judi Felber
                                                     Joseph Felber
                                                     Daniel Felber
                                                     Adina Felber

       198.    On the morning of December 13, 2018, Asem al-Barghouthi opened fire on a group

of civilians and soldiers standing at a hitchhiking stop, killing two and leaving Nathaniel Felber

with a permanent, severe brain injury. See Declaration of A. Spitzen ¶¶ 43–45, Felber v. Islamic

Republic of Iran, No. 19 Civ. 1027 (D.D.C.) (D.E. No. 28); Proposed Findings of Fact ¶¶ 88, 108,

120, 132, 167 & Affidavits in support thereof in Felber v. Islamic Republic of Iran, No. 19 Civ.

1027 (D.D.C.), ECF No. 30.

       199.    The following individuals pled guilty for their roles in perpetrating the attack:

           •   Asem Umar Saleh al-Barghouti


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           •   Anees Ahmd Yosef Mashal

See Declaration of N. Kaufman ¶ 7.

     Date        Location of Attack                  U.S. Victims’ Names
  08/16/2019     Elazar                              Unknown

       200.    A U.S. national was killed or injured in this attack, according to the U.S. Depart-

ment of Justice’s OVT. See DOJ/OVT Interactive World Map - Near East, Justice.gov,

https://www.justice.gov/nsd-ovt/dojovt-interactive-world-map/near-east (last visited Oct. 11,

2020). A copy of the DOJ/OVT list is attached supra as Exhibit 21.

       201.    Ala’Khader al-Hreimi died perpetrating the attack. See Declaration of A. Spitzen ¶

45.

       202.    Pursuant to the Palestine Liberation Organization Commitments Compliance Act

of 1989 (§ 804, Title VIII, P.L. 101-246) and the Foreign Relations Authorization Act, Fiscal Year

2003 (§§ 603–04, 699, P.L. 107-228), the State Department has issued a Report to Congress re-

garding compliance during the period from April 5 to October 4, 2020, by the Palestine Liberation

Organization and the Palestinian Authority with respect to their commitments under those statutes.

A true and complete copy of the Report’s text as provided to me is attached as Exhibit 27. Relevant

portions of the report were quoted in a recent press article. See Adam Kredo, Palestinian Govern-

ment Continues Payments to Terrorists Despite Cash Crunch, WASH. FREE BEACON (Oct. 30,

2020), https://freebeacon.com/national-security/palestinian-government-continues-payments-ter-

rorists-despite-cash-crunch/. A copy of the Free Beacon article is attached as Exhibit 28. Because

the Report’s full text was provided by a confidential source, I have redacted the sender’s name and

other information protected by the work-product privilege.




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      Consent Under Subparagraph (1)(B)

Relation Between the PLO and the PA

         203.     The PA’s Ministry of Foreign Affairs acts as the PLO’s agent. According to De-

fendants, the PA’s “ultimate authority is the PLO,” and the PA “was made accountable to the PLO

Executive Committee.” Legal Consequences of the Construction of a Wall in the Occupied Pales-

tinian Territory (Request for an Advisory Opinion), Written Statement Submitted by Palestine at

¶¶ 118–119 (Jan. 30, 2004), https://www.icj-cij.org/public/files/case-related/131/1555.pdf. A copy

of relevant portions of the statement is attached as Exhibit 29.

         204.     The PA’s Ministry of Foreign Affairs website states that the PA “cannot assume

roles or functions not delegated to it by the PLO.” A translated except of the website is attached

as Exhibit 30.3

         205.     The PLO has delegated to the PA a role in the PLO’s conduct of activities at the

UN Mission in New York. In 2005, the PA adopted “The Diplomatic Corps Law No. 13-2005.”

According to this law, the PA’s Ministry of Foreign Affairs is charged with “[o]verseeing all mis-

sions politically, administratively and financially,” (§ 3); and all staff with the rank of “Ambassa-

dor” are appointed by the PA’s President, (§§ 7, 9). A translated copy of the Diplomatic Corps

Law No. 13-2005 is attached as Exhibit 31.

         206.     In accordance with this law, PLO and PA Chairman Abbas appointed Riyad

Mansour to head the Palestinian UN Mission, on September 10, 2005, with the civil service rank

of “ambassador” within the PA’s Foreign Ministry, serving as the PLO’s Permanent Observer to

the United Nations. A translated copy of the announcement is attached as Exhibit 32. Dr. Mansour

continues to head the Mission today, and other PA officials also staff the office, according to


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 Plaintiffs previously filed Exhibits 28–31, 33, and 58 in support of their motion to recall the Second Circuit’s man-
date. See No. 15-3135, ECF No. 305 (2d. Cir. March 25, 2019).

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Defendants’ PalestineUN.org Mission Team subpage. Copies of the relevant website pages are

attached as Exhibit 33.

Consular Services

       207.    For many years, Defendants have provided “consular services,” such as the authen-

tication of birth and death certificates, and other forms, through agents located in the United States,

including Ahmad Alahmad, Samir Farhat, and Awni Abu Hdba. For example, in 2019, Defend-

ants’ agent Awni Abu Hdba participated in the authentication of a document while located in New

Jersey. These activities were described in detail in the Declaration of David Russell originally filed

in the Second Circuit in Sokolow v. Palestine Liberation Org., No. 15-3135 (ECF No.305-5) at pp.

A278–82 (attached as Exhibit 34).

Press Conferences and Informational Materials

       208.    On February 11, 2020, Mahmoud Abbas, Chairman of the PLO and President of

the PA, held a press conference with a retired Israeli politician in New York City, during which

Chairman Abbas criticized the U.S. anticipated Israel–Palestine Peace Plan. Chairman Abbas said:

“A few days ago, the so called deal of the century was introduced by America and totally went

against international law and does not make way for a two-state solution. This cannot be a basis

for any future negotiations as it will not make way for a joint peace.” The press conference was

recorded and is available on Defendants Twitter page. See infra Exhibits 35–36.

       209.    After January 4, 2020, Defendants continued to maintain and update a website and

Twitter and Facebook accounts in the name of the State of Palestine, though which they publish

communications in English.

       210.    Defendants’ posts on Facebook and Twitter are physically in the United States.

Twitter’s servers are located in Sacramento, California Easyweb Innovations, LLC v. Twitter, Inc.,



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No. 11 Civ. 4550 (JFB) (SIL), 2016 WL 1253674, at *3 (E.D.N.Y. Mar. 30, 2016), aff’d, 689 F.

App'x 969 (Fed. Cir. 2017). Six of Facebook’s nine data centers are physically in the United States.

See Patel v. Facebook, Inc., 932 F.3d 1264, 1268 (9th Cir. 2019).

       211.    Defendant’s palestineun.org website is physically in the United States. It is main-

tained by Domains By Proxy, LLC, an entity physically located in Arizona, according to the In-

ternet Corporation for Assigned Names and Numbers (ICANN) and the Arizona Corporation Com-

mission. According to ICANN’s “WHOIS” tool, the server hosting the palestineun.org website is

physically located in California. Copies of reports from the Arizona Corporation Commission and

ICANN are attached as Exhibit 37.

       212.    Defendants employ a person who works at Defendants’ office, premises, or other

facility located in a townhouse on at 115 East 65th Street in New York City, and who lists her job

as “Director of Public Relations.” A copy of Nadia Ghannam’s LinkedIn page is attached as Ex-

hibit 38; see also supra Exhibit 33.

       213.    After January 4, 2020, Defendants have used their website to publish communica-

tions in English. Such communications included the following examples:

               a.       January 10, 2020: Defendants published a letter on their website asserting

       that Israel is carrying out a “frenzied, illegal colonization campaign.”

               b.       February 14, 2020: Defendants published a letter on their website asserting

       that Israel was engaging in “relentless crimes, provocation, incitement and inflammatory

       rhetoric.”

               c.       February 20, 2020: Defendants published a letter on their website asserting

       that Israel was engaged in “continuing illegal settlement activities, land grab and annexa-

       tion schemes.”


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            d.        February 26, 2020: Defendants published a letter on their website asserting

    that Israel “persists in rabid pursuit of its illegal colonization schemes.”

            e.        March 13, 2020: Defendants published a letter on their website asserting

    that Israel “escalates the pace of its illegal annexation and colonization schemes and its

    aggressions and inflammatory rhetoric against the Palestinian people.”

            f.        April 2, 2020: Defendants published a letter on their website asserting that

    Israel “has not for a minute ceased its illegal policies and practices.”

            g.        April 15, 2020: Defendants published a letter on their website asserting that

    “Israel continues to cynically exploit the international community’s focus on the life and

    death circumstances imposed by the COVID-19 pandemic, to entrench its illegal occupa-

    tion, advance annexation, and escalate its repression of Palestinians.”

            h.        April 29, 2020: Defendants published a letter on their website asserting that

    Israel’s accusations of antisemitism are used to “taint legitimate criticism” by those who

    “dare to denounce Israel’s violations of the Palestinian people’s rights and its colonization

    of their land.”

            i.        May 13, 2020: Defendants published a letter on their website asserting that

    “not a day has passed where Israel has not cynically exploited the COVID-19 crisis, glob-

    ally and locally, to forge ahead with its annexationist plans and in full coordination with

    the current US administration.”

            j.        June 4, 2020: Defendants published a letter on their website asserting that

    Israel “continues its depraved dehumanization of the Palestinian people and colonization

    of Palestinian land.”




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                  k.     July 24, 2020: Defendants published a letter on their website asserting that

       Israel “forges ahead with its expansionist policies in the West Bank, cementing its illegal

       occupation and escalating its aggression against the Palestinian people, their land and their

       rights.”

                  l.     August 6, 2020: Defendants published a letter on their website asserting that

       there were “continuing and escalating illegal policies and practices of Israel, the occupying

       Power, and its extremist military and settler forces.”

                  m.     August 17, 2020: Defendants published a letter on their website asserting

       that “Israel carries on with its illegal colonization and annexation measures in our land and

       with its repression of the Palestinian people through measures of collective punishment,

       dispossession, displacement and other violations of their rights.”

Copies of the above-cited posts are attached as Exhibits 39–51.

       214.       After January 4, 2020, Defendants also published on their website English transla-

tions of numerous speeches given by Palestinian representatives at the United Nations. These pub-

lications included the following examples:

                  a.     February 11, 2020: Defendants assert that the proposed U.S. peace plan

       “contains diktats, consecrates occupation and annexation by military force, and would lead

       to an Apartheid system, an anachronistic reality being implemented today in Palestine. It

       rewards occupation instead of holding it accountable for the crimes it has committed for

       decades against our people and land.”

                  b.     April 23, 2020: Defendants assert that Israel should “stop its colonization

       and de facto annexation of Palestinian land; end its immoral blockade on the Gaza Strip;




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       and release the thousands of Palestinians, including children, that it has imprisoned. . . .

       Israel carries on with its illegal policies and practices, business as usual.”

                  c.     May 27, 2020: Defendants assert, “Israel has demonstrated time and time

       again its contempt for the rule of international law and for Palestinian rights and lives.”

                  d.     June 24, 2020: Defendants assert that Israel is “drunk on power, propelled

       by infinite impunity, motivated by one single thought that it has been under the influence

       of for decades: grabbing maximum Palestinian land with minimum Palestinians.”

                  e.     July 21, 2020: Defendants assert that the Palestinian people has been “dis-

       possessed, exiled, occupied, colonized, annexed and deprived of their fundamental human

       rights.”

Copies of the above-cited posts are attached as Exhibits 52–56.

       215.       Since January 4, 2020, Defendants have updated their Twitter account more than

200 times and their Facebook account more than 125 times. Defendants’ Twitter and Facebook

updates have included the following communications in English:

                  a.     February 4, 2020: Defendants published the “official #Palestinian position

       from the Trump administration’s so-called plan” concerning the U.S. peace plan.

                  b.     February 11, 2020: Defendants stated, “They (#Israelis) are strengthening

       the #apartheid regime . . . this plan is a plan to put an end to the Question of #Palestine . .

       . ” (ellipses in original).

                  c.     March 17, 2020: Defendants stated, “US lawmakers call on their admin-

       istration to oppose demolition of Palestinian homes.”




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           d.      March 30, 2020: Defendants stated, “With resilience and strength, we will

    defeat [COVID-19] despite the continued Israeli violations against the land and people of

    Palestine.”

           e.      April 10, 2020: Defendants stated, “Infographic: Summary of Israeli viola-

    tions since the State of #Palestine declared a state of emergency over the outbreak of

    #COVID19.”

           f.      April 12, 2020: Defendants stated, “While the world works on saving lives,

    US and Israel working on killing prospects of peace through annexation.”

           g.      April 17, 2020: Defendants stated, “Palestinian prisoners are hostages to

    Israel’s gratuitous cruelty and must be released.”

           h.      April 20, 2020: Defendants stated, “Palestinian leadership will confront Is-

    rael’s united agenda of permanent aggression and annexation.”

           i.      April 23, 2020: Defendants stated, "We reiterate: the #US plan will not

    bring peace. This plan—and #Israels decision to proceed w/ #annexation—will destroy the

    two-State solution & entrench Israel's military control over the #Palestinian ppl and land.”

           j.      April 28, 2020: Defendants stated, “Ever since Trump took office in 2016,

    Israel has built more illegal settlements on Palestinian land and displaced more families

    than in previous years.”

           k.      May 15, 2020: Defendants published an article entitled, “Nakba is a contin-

    uum of injustice that must end.” The article begins: “Seventy-two years ago, the Nakba

    (Catastrophe) that was forced upon the Palestinian people began with a systematic cam-

    paign of ethnic cleansing, expulsion, mass murder, theft, and destruction by Zionist militias




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    that later formed the Israeli army.” The article contains no mention of any proceedings in

    the United Nations.

           l.      May 18, 2020: Defendants announced that “the Palestinian Govt. will meet

    to discuss how we will move forward in response to Israel’s announcement on the looming

    #annexation plan scheduled to take place this July.”

           m.      May 19, 2020: Defendants republish a declaration by the Organization of

    Islamic Cooperation opposing the annexation plan.

           n.      May 21, 2020: Defendants republish a press release to “mobilize efforts to

    combat Israel’s unlawful annexation plans.”

           o.      May 22, 2020: Defendants republished portions of a letter written by eight-

    een US. Senators expressing “grave concern regarding unilateral annexation of Palestinian

    Territory.”

           p.      June 7 to 11, 2020: Defendants published a series of videos entitled “one

    voice against Israel’s annexation.”

           q.      June 11, 2020: Defendants published an “open letter to the Israeli Govern-

    ment concerning Annexation” by legal scholars.

           r.      June 12, 2020: Defendants published a statement from the President of Sinn

    Féin (the Irish political party) that “[t]he global community must stand w/the Palestinian

    people at this time.”

           s.      June 16, 2020: Defendants publish a statement denouncing “the threat an-

    nexation: Israel’s acquisition of lands belonging to the State of #Palestine by Force.”




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              t.      June 25, 2020: Defendants published a letter from European lawmakers

       “contemning Israel’s latest plan to illegally #annex #Palestinian territory in the occupied

       #WestBank.”

              u.      June 26, 2020: Defendants published a statement from Churches for Middle

       East Peace arguing that “Annexing any (part) of the West Bank will entrench inequalities

       and abuses of Palestinian human rights.”

              v.      June 26, 2020: Defendants published a letter stating that Israel is engaged

       in “institutionalized violence, terror and racism.”

              w.      July 1, 2020: Defendants published a “call for immediate targeted sanctions

       to stop Israel’s #Annexation and Apartheid” and a position paper for “all those interested

       to know more about the illegality of Israel’s annexation and its impact on the lives of the

       people of #Palestine.”

              x.      July 2, 2020: Defendants published a “call by international women leaders

       against Israeli annexation.”

              y.      July 3, 2020: Defendants published a statement by retired politicians urging

       European politicians “to maintain their resolve against #Israel’s plans to annex swathes of

       the #WestBank.”

              z.      July 29, 2020: Defendants published a video captioned: “The reality of oc-

       cupation and #annexation in #Jerusalem summed up. Ethnic cleansing, land theft, oppres-

       sion, persecution and other #IsraeliCrimes continue in the absence of #accountability.”

              aa.     August 31, 2020: Defendants retweeted an assertion that “Israel must im-

       mediately allow entry of fuel and other essential items into #Gaza.

Copies of the above-cited Twitter and Facebook posts are attached as Exhibits 35–36, 57–58.



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Maintaining An Office Or Other Facility

       216.    Defendants own and maintain an office, premises, or other facility located in a

townhouse on at 115 East 65th Street in New York City. Defendants own the building in which

the facility is located in the name of the “Permanent Observer Mission of Palestine to the United

Nations.” A copy of the deed to 115 East 65th Street is attached as Exhibit 59.

       217.    I believe that agents, officers, and/or employees of the PLO and the PA have used

the East 65th Street facility since January 4, 2020, and that they have used the facility in the name

of the State of Palestine for non-UN business.

       218.    The PLO and the PA hold themselves out to be, and carry out conduct in the name

of, the State of Palestine, in connection with official business of the United Nations. See supra

Exhibit 33. For example, Dr. Mansour holds himself out as “Ambassador, Permanent Observer of

the State of Palestine to the United Nations.” See id.

    Discovery Will Reveal Additional Relevant Information Proving Consent

       219.    No discovery from Defendants concerning consent to jurisdiction has taken place

in any case since enactment of the PSJVTA.

       220.    Discovery from Defendants would likely demonstrate that they engaged in conduct

that meets the terms of 18 U.S.C. § 2334(e)(1)(A). With regard to individuals who died while or

were convicted for perpetrating terror attacks that harmed U.S. nationals, I have limited the fore-

going presentation to perpetrators whose deaths or convictions are confirmed by Defendants’ own

documents, copies of the convictions themselves collected by me and my colleagues, or in a hand-

ful of cases, otherwise reliable evidence. In presenting this information, my colleagues and I omit-

ted another 129 individuals who were identified as having been convicted for or killed while per-

petrating terror attacks that killed or injured Americans, but as to whom we did not have actual

convictions or other confirmatory evidence. Discovery from the Defendants would likely
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demonstrate that most or all of these 129 additional individuals who (a) were killed while or con-

victed of perpetrating terror attacks, (b) harmed U.S. citizens, and (c) they or their families were

paid by Defendants after April 18, 2020 by reason of the death or imprisonment of the perpetrator.

As detailed in the Declaration of Arieh Spitzen, a prisoner who is entitled to payments under De-

fendants’ prisoner payment program must submit a copy of the verdict and sentence, so it is highly

likely that Defendants themselves have evidence of the relevant convictions. Spitzen Decl. ¶ 23.

Similarly, Defendants’ own “Martyr Files” will show the circumstances of the deaths of individu-

als killed while perpetrating terror attacks that harmed U.S. citizens. Spitzen Decl. ¶ 44.

       221.    Discovery from the Defendants would likely also demonstrate that they have en-

gaged in conduct that meets the terms of 18 U.S.C. § 2334(e)(1)(B). For example, discovery would

reveal what uses were made of Defendants’ facility in New York City. In the Klinghoffer case,

Judge Stanton of this Court found that Defendants used the facility to prepare press releases, in-

formational materials and to conduct fundraising activities. Klinghoffer v. S.N.C. Achille Lauro Ed

Altri-Gestione Motonave Achille Lauro in Amministrazione Straordinaria, 795 F. Supp. 112, 114

(S.D.N.Y. 1992). I have a reasonable belief that such activities have taken place after January 4,

2020, at the same facility.

       222.    I also have a reasonable belief that Defendants have engaged in additional activities

described by a member of Congress shortly after Defendants’ counsel met with his staff. In partic-

ular, Defendants’ counsel communicated or met with staff of Senator Patrick Leahy on January 7,

9, and 13, 2020, see Squire Patton Boggs, FARA Supplemental Statement attachment D-3, Item 3

(July 31, 2020) (relevant pages attached as Exhibit 60), and soon after that, Senator Leahy issued

a statement suggesting that Defendants are conducting meetings “with advocates regarding rele-

vant issues” and engaging in “civil society activities.” See 166 Cong. Rec. S627 (daily ed. Jan. 28,



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2020) (attached as Exhibit 61). Defendants have not disclosed which “advocates” they met with,

what “relevant issues” they attempted to influence, and what “civil society activities” they engaged

in. Discovery would reveal the scope of these activities and whether they are subject to some ex-

ception to the general rule that “any activity” in the United States is consent to personal jurisdiction

in ATA cases.

        223.     In addition, based on investigation done under my supervision, I have learned that,

after January 4, 2020, one or more agents of the Defendants participated in the authentication

and/or consideration of documents for authentication on behalf of the PA and PLO while physi-

cally located in the United States, including by transmitting documents for authentication to em-

ployees of the PA’s Ministry of Foreign Affairs. Discovery would reveal the scope of those activ-

ities as well.

     Additional Document

        224.     I attach as Exhibit 62 a letter from Secretary of State Michael R. Pompeo to Senator

Charles E. Grassley dated June 19, 2019.

        225.     I declare under penalty of perjury that the foregoing is true and correct.

Executed on November 12, 2020


                                                        Kent A. Yalowitz




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